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                     United States Court of Appeals
                                    FIFTH CIRCUIT
                                 OFFICE OF THE CLERK
LYLE W. CAYCE                                                           TEL. 504-310-7700
CLERK                                                                600 S. MAESTRI PLACE,
                                                                             Suite 115
                                                                    NEW ORLEANS, LA 70130

                                  May 10, 2019


Mr. Tony R. Moore
Western District of Louisiana, Shreveport
United States District Court
300 Fannin Street
Suite 1167
Shreveport, LA 71101-0000

      No. 18-30694        USA v. Robert Cuff
                          USDC No. 5:14-CV-3384


Dear Mr. Moore,
Enclosed is a copy of the judgment issued as the mandate.


                                     Sincerely,
                                     LYLE W. CAYCE, Clerk


                                     By: _________________________
                                     Shea E. Pertuit, Deputy Clerk
                                     504-310-7666
cc w/encl:
     Ms. Carol Mignonne Griffing
     Mr. Michael Robert Levine
     Ms. Cristina Walker
     Mr. John Luke Walker
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        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


                                  No. 18-30694


UNITED STATES OF AMERICA,

                                            Plaintiff-Appellee

v.

ROBERT CUFF, also known as DD0040, also known as Slapalot, also known
as Robert E. Cuff,

                                            Defendant-Appellant


                Appeal from the United States District Court
                   for the Western District of Louisiana


O R D E R:
      Robert Cuff, now federal prisoner # 80239-280, represented by counsel,
has applied for a certificate of appealability (COA) for an appeal from the
denial of his motion under 28 U.S.C. § 2255 and his motion to alter or amend
the order denying the § 2255 motion. He wishes to challenge his conviction of
engaging in a child exploitation enterprise. Cuff’s motions for leave to file a
supplemental brief and for leave to file a corrected brief are DENIED.
      Federal courts must determine whether jurisdiction exists over an
appeal. Crone v. Cockrell, 324 F.3d 833, 836 (5th Cir. 2003). Filing a timely
notice of appeal within 60 days of the entry of judgment when the United
States is a party is a jurisdictional prerequisite. 28 U.S.C. § 2107(b); Hamer v.
Neighborhood Hous. Servs., 138 S. Ct. 13, 16-17, 20 (2017). The district court’s
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order denying § 2255 relief was entered on March 14, 2018, and Cuff did not
file a notice of appeal until June 1, 2018. Because the notice of appeal was not
filed within 60 days, we lack jurisdiction unless there was a reason the appeal
period was extended.
      Cuff timely filed a motion pursuant to Federal Rule of Civil Procedure
59(e), which could extend the time for filing a notice of appeal until the entry
of an order disposing of the motion. See FED. R. APP. P. 4(a)(4)(A)(iv). However,
a Rule 59(e) motion that attacks a federal court’s previous resolution of the
claims on the merits is construed as a successive § 2255 motion. Williams v.
Thaler, 602 F.3d 291, 303-04 (5th Cir. 2010); Gonzalez v. Crosby, 545 U.S. 524,
531-32 (2005). Because Cuff’s Rule 59(e) motion attacked the district court’s
resolution of claims raised in the original § 2255 motion, it is properly
characterized as a successive § 2255 motion, which did not toll the period for
timely filing a notice of appeal. FED. R. APP. P. 4(a)(4)(A); see Uranga v. Davis,
893 F.3d 282, 284 (5th Cir. 2018); see also Williams, 602 F.3d at 303-04. Thus,
the notice of appeal was untimely as to the district court’s order denying § 2255
relief, and this court lacks jurisdiction to consider that order.
      Although the notice of appeal is timely as to the order denying the
Rule 59(e) motion, that motion has been construed as a successive § 2255
motion and Cuff did not obtain authorization from this court prior to filing it
in the district court. Accordingly, the district court lacked jurisdiction and this
court lacks appellate jurisdiction to consider the merits of the district court’s
order denying relief. See 28 U.S.C. §§ 2255(h), 2244(b)(3)(A); Crone, 324 F.3d
at 836-38; United States v. Key, 205 F.3d 773, 774 (5th Cir. 2000). The motion
for a COA is DENIED.




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                                                    /s/ James L. Dennis
                                          __________________________________
                                                  JAMES L. DENNIS
                                          UNITED STATES CIRCUIT JUDGE




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

   UNITED STATES OF AMERICA                          CRIMINAL ACTION NO. 11-00062-21

   VERSUS                                            JUDGE S. MAURICE HICKS, JR.

   ROBERT CUFF                                       MAGISTRATE JUDGE HORNSBY

                                   MEMORANDUM RULING

          Before the Court is Petitioner Robert Cuff’s (“Cuff”) Amended Motion to Vacate,

   Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. See Record Document

   737. Cuff seeks to have his sentence corrected on seven grounds which will each be

   analyzed by the Court. For the reasons discussed herein, Cuff’s Motion is DENIED.

                       FACTUAL AND PROCEDURAL BACKGROUND

          Cuff, also known as “dd0040” and “slapalot,” joined “Dreamboard,” an online

   bulletin board for the exchange of sexual videos and images on March 22, 2009. See

   Record Document 387-2 at 4. During his time as a member of “Dreamboard,” he posted

   a total of forty-three images or files. See id. Most of these images were of young children

   posing in sexual positions or engaging in sexual acts with adults. See id. As a result of

   these postings, he was elevated to VIP status on the site. See id.

          While conducting a search of Cuff’s house pursuant to a search warrant, law

   enforcement seized a computer containing multiple sexual video files. The seized files

   included videos of Cuff sexually abusing a five-year old girl. The five-year old girl was the

   daughter of a woman, with whom Cuff had been involved.

          On August 10, 2011, Cuff was charged by a federal grand jury in a second

   superseding indictment with one count of engaging in a child exploitation enterprise in

   violation of 18 U.S.C. § 2252A(g). See Record Document 245. Additionally, Cuff was

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   charged with one count of conspiracy to advertise the distribution of child pornography in

   violation of 18 U.S.C. §§ 2251(d)(1) and (e). See id. Furthermore, Cuff was charged with

   one count of conspiracy to distribute child pornography in violation of 18 U.S.C. §§

   2252A(a)(2)(A) and (b)(1). See id. Subsequent to the indictment, the Court permitted

   mental health professionals to conduct a mental evaluation of him at the place of

   incarceration. See Record Documents 340, 359, and 360. On August 30, 2011, the Court

   granted a motion permitting Stephen P. Karns (“Karns”) to appear pro hac vice. See

   Record Document 296. Based on the record, Karns was the lead counsel in Cuff’s case.

         On December 1, 2011, Cuff pleaded guilty to count one, engaging in a child

   exploitation enterprise of the second superseding indictment. See Record Document 387.

   Again, the Court issued Orders permitting mental health professionals to interview and

   evaluate Cuff. See Record Documents 398, 405, and 408.

         On January 23, 2012, the Presentence Report was issued. See Record Document

   544. Due to an enhancement pursuant to U.S.S.G. § 4B1.5(b)(1), the recommended total

   offense level was 48 because Cuff “engaged in a pattern of activity involving prohibited

   sexual conduct.” See id. His Criminal History Category was determined by the Probation

   Office to be a One (I). See id. Consequently, the combination of these scores led to a

   determination that Cuff’s guideline imprisonment range was life imprisonment. See id.

         On February 3, 2012, Karns filed a Motion to Continue Dates for Objections to the

   Presentence Report and Sentencing. See Record Document 436. In his Motion, Karns

   asserted that additional time was needed in order for his experts to complete their

   evaluations as well as to allow time for his counsel to prepare a motion for downward

   departure or variance. See id. On February 6, 2012, the Court issued an Order granting



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   Karns’ Motion and re-scheduled the sentencing for May 16, 2012. See Record Document

   438. Karns’ objections to the Presentence Report were due on April 18, 2012. See id. On

   April 10, 2012, Karns filed a second Motion to Continue Dates for Objections to the

   Presentence Report and Sentencing. See Record Document 461. Again, Karns cites the

   need for additional time in order for his experts to complete their evaluations as well as

   to allow time for him to prepare a motion for downward departure or variance. See id. On

   April 11, 2012, the Court issued an Order granting Karns’ Motion and re-scheduled the

   sentencing for July 13, 2012. See Record Document 464. The objections to the

   Presentence Report were also due on June 13, 2012. See id.

         On June 29, 2012, Karns filed a forty-page Pre-sentencing Memorandum, which

   incorporated a motion for downward departure. See Record Document 513. In his Pre-

   sentencing Memorandum, Karns advocated for the Court to impose a sentence that was

   less than the determined life imprisonment recommended in the Presentence Report.

   Karns attached thirty exhibits to the Memorandum, including photographs and letters

   attesting to Cuff’s admirable work record while he was employed by the United States

   Navy. See Record Documents 513-516.

         On July 5, 2012, roughly one week before the July 13, 2012 sentencing date, Eric

   H. Schweitzer (“Schweitzer”) filed a Motion to Appear Pro Hac Vice. See Record

   Document 517. The Court granted the Motion on July 6, 2012. See Record Document

   518. On July 9, 2012, four days before sentencing, Schweitzer filed a Motion to Substitute

   himself in place of Karns. See Record Document 521. In the Motion, Schweitzer argued

   that he learned of a brain injury sustained by Cuff and that this may constitute a defense

   to the charges levied against Cuff. See id. Schweitzer also asserted that Karns was



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   incapable of counseling Cuff in that regard. See id. The Motion further requested the

   Court “allow him sufficient time to prepare for sentencing and any other matters which

   [sic] this writer may deem advisable.” See id. The Court denied this Motion on July 10,

   2012. See Record Document 525. In denying the Motion, the Court reasoned that

   Schweitzer was already enrolled as co-counsel with Karns. See Record Documents 518

   and 525. Therefore, because of his appointment as co-counsel, Schweitzer was permitted

   to attend the sentencing hearings, but Karns was required to participate. Furthermore, as

   it concerned a continuance, the Court reasoned that Cuff had already been granted a

   total of 220 days to prepare for sentencing and that this was his third request for a

   continuance. See Record Document 525. Thus, the Court denied Schweitzer’s request

   for a third continuance.

          Included in Schweitzer’s Motion to Substitute, Schweitzer alerted the Court of his

   intent to file a Motion to Withdraw Cuff’s Guilty Plea. See Record Document 521. On July

   12, 2012, the day before the sentencing hearing, Schweitzer filed the Motion to Withdraw

   Cuff’s Guilty Plea. See Record Document 529. The government filed its opposition the

   day of the sentencing hearing. See Record Document 530. At the sentencing hearing, the

   Court denied the Motion to Withdraw Cuff’s Guilty Plea and also denied the request for a

   downward departure. The Court sentenced Cuff to life in prison, which was the sentence

   recommended under the advisory guidelines in the Presentence Report. See Record

   Document 540. Furthermore, the Court determined that the aforementioned sentence

   would be followed by a lifetime of supervised release should Cuff ever be released from

   prison. See id.




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         On July 12, 2012, Schweitzer filed a Notice of Appeal pursuant to 18 U.S.C. § 3742

   on behalf of Cuff. See Record Document 537. On August 7, 2013, the United States Court

   of Appeals for the Fifth Circuit affirmed Cuff’s conviction and sentence. See Record

   Document 679. The United States Supreme Court denied Cuff’s Petition for Writ of

   Certiorari. See Record Document 692. At this time, Cuff moves to Vacate, Set Aside, or

   Correct Sentence pursuant to 28 U.S.C. § 2255. See Record Document 737. Cuff alleges

   seven grounds as to why the present Section 2255 Motion should be granted:

         (1) Breach of the plea agreement and vacate the guilty plea for violation of
         the non-prosecution clause; 1

         (2) Ineffective assistance of counsel for failure to move for competency
         review under 18 U.S.C. § 4241;

         (3) Ineffective assistance of counsel for failure to investigate insanity or
         involuntary intoxication defenses;

         (4) Ineffective assistance of counsel for failure to investigate;

         (5) The conviction for engaging in a child exploitation enterprise under 18
         U.S.C. § 2252(A)(g) is constitutionally defective for lacking a mens rea
         element that would require the prosecution to prove that Cuff knowingly
         acted in concert with three or more persons, and alternatively, ineffective
         assistance of counsel for failure to raise the mens rea element in Cuff’s
         defense;

         (6) Ineffective assistance of counsel for failure to object to a five (5) level
         enhancement under U.S.S.G. 4B1.5(b); and

         (7) Ineffective assistance of counsel for failing to ensure that Cuff fully
         understood at the change of plea hearing that the district court could impose


   1 Cuff argues that as part of his plea agreement, the government agreed not to prosecute

   him in conjunction with the investigation that formed the basis for the second superseding
   indictment. The investigation led to the seizure of videos produced in the Western District
   of Texas and the videos led to a five (5) level enhancement in the offense level. Based
   on the videos, Cuff argues that this Court sentenced him to life imprisonment. He also
   maintains, the government breached the plea agreement because thirteen days after he
   pleaded guilty in the Western District of Louisiana, the government in the Western District
   of Texas indicted Cuff based on the videos.

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          a term of life in prison even if Cuff waived his right to a jury trial, resulting in
          an involuntary and unknowing guilty plea.

   See Record Document 737.

                                       LAW AND ANALYSIS

   I.     Motions to Vacate, Set Aside, or Correct a Sentence Under 28 U.S.C. § 2255

          The federal habeas corpus remedy is contained in 28 U.S.C. § 2255, which

   provides that a prisoner serving a federal sentence may make a motion to vacate, set

   aside, or correct his sentence within a year after his conviction has become final. Review

   under Section 2255 is limited to four grounds: (1) the sentence was imposed in violation

   of the Constitution or laws of the United States; (2) the court was without jurisdiction to

   impose the sentence; (3) the sentence exceeds the statutory maximum sentence; or (4)

   the sentence is otherwise subject to collateral attack. See 28 U.S.C. § 2255. However,

   after conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled to

   presume that the defendant stands fairly and finally convicted.” United States v. Shaid,

   937 F.2d 228, 231-32 (5th Cir. 1991), (quoting United States v. Frady, 456 U.S. 152, 164,

   102 S. Ct. 1584, 1592 (1982). The Supreme Court reasoned that, “our trial and appellate

   procedures are not so unreliable that we may not afford their completed operation any

   binding effect beyond the next in a series of endless post-conviction collateral attacks.

   Frady, 456 U.S. at 164-65, 102 S. Ct. at 1593. “To the contrary, a final judgment

   commands respect.” Id.

          Consequently, issues that can be presented in a motion filed under 28 U.S.C.

   § 2255 are limited. A defendant can challenge a final conviction only on issues of

   constitutional or jurisdictional magnitude. Shaid, 937 F.2d at 232. As the Fifth Circuit has

   stated:


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          Relief under 28 U.S.C. § 2255 is reserved for transgressions of
          constitutional rights and for a narrow range of injuries that could not have
          been raised on direct appeal and would, if condoned, result in a complete
          miscarriage of justice. Non constitutional claims that could have been raised
          on direct appeal, but were not, may not be asserted in a collateral
          proceeding.

   United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

          Even if a defendant wishes to assert issues that are constitutional or jurisdictional

   in nature, he may be procedurally barred from raising them. In order to raise an issue for

   the first time on collateral review, a defendant must show both “cause” for his procedural

   default and “actual prejudice” resulting from the error. Frady, 456 U.S. at 168, 102 S. Ct.

   at 1594. To establish “cause,” defendant must show that some external impediment

   prevented him from raising the claim on direct appeal. See United States v. Flores, 981

   F.2d 231, 235 (5th Cir. 1993). In order to meet the “actual prejudice” test, defendant must

   demonstrate not just the possibility of prejudice, “but an actual and substantial

   disadvantage, infecting his entire trial with error of constitutional dimension.” Shaid, 937

   F.2d at 233.

          Accordingly, Cuff must have brought these claims on direct appeal or be able to

   show cause and prejudice for why he failed to do so. In the present action, Cuff’s assertion

   that that government breached the plea agreement, specifically the non-prosecution

   clause contained therein, is constitutional in nature because the breach of a plea

   agreement “implicates constitutional due process concerns.” United States v. Robinson,

   117 F. App'x 973, 978 (5th Cir. 2004). However, Cuff failed to raise this claim on direct

   review. The Fifth Circuit opinion affirming the Court’s sentence, stated that “[a]lthough

   Cuff complains of prosecutorial misconduct, he did not develop the facts supporting this

   claim, so we are not able to review it on appeal.” Record Document 679 at 6.


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   Furthermore, Cuff was aware of the Texas indictment at the time of his appeal and could

   have established facts in order for the Fifth Circuit to review the present claim.

          Nonetheless, defendants are still able to raise an issue for the first time on

   collateral review. As indicated supra, a defendant must show both “cause” for his

   procedural default and “actual prejudice” resulting from the error if he raises a

   constitutional or jurisdictional issue for the first time on collateral review. See Frady, 456

   U.S. at 168, 102 S. Ct. at 1594. The Court finds that Cuff has failed to offer evidence that

   would establish some external element that prevented him from raising his claim on direct

   appeal. Cuff attempts to argue that the declaration from Karns that allegedly supports this

   claim that the government breached the plea agreement was obtained after his direct

   appeal. However, the fact that appellate counsel failed to provide the Fifth Circuit with

   Karns’ declaration is not of issue with the Court. Appellate Counsel should have obtained

   Karns’ declaration at the time he filed his Notice of Appeal.

          Accordingly, the Court finds that Cuff’s claim that the government breached the

   plea agreement is procedurally barred. Furthermore, Cuff attempts to couch this claim as

   an ineffective assistance of counsel claim in order to bring it within the ambit of a less

   stringent standard. However, the Court rejects such an argument because in Cuff’s

   Amended Section 2255 Motion he clearly outlines his ineffective assistance of counsel

   claims in claims two, three, four, six, and seven, but fails to mention ineffective assistance

   of counsel in claim one.




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   II.    Ineffective Assistance of Counsel

          The general rule prohibiting a defendant from raising claims on collateral review

   absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance

   of counsel. Massaro v. United States, 538 U.S. 500, 504, 123 S. Ct. 1690, 1693 (2003).

   This “procedural default rule is neither a statutory nor constitutional requirement, but it is

   a doctrine adhered to by the courts to conserve judicial resources and to respect the law’s

   important interest in the finality of judgments.” Id. at 504, 123 S. Ct. at 1693. Requiring a

   criminal defendant to bring claims of ineffective assistance of counsel on a direct appeal

   does not promote these objectives. See id. A claim of ineffective assistance of counsel

   cannot be properly resolved on appeal because there has been no opportunity to develop

   the record on the merits of these allegations. See id. Thus, a criminal defendant is

   permitted to bring ineffective assistance of counsel claims in a collateral proceeding under

   Section 2255, regardless of whether such claims could have been raised on direct appeal.

   See id.

          To prevail on claims of ineffective assistance of counsel, a claimant must prove:

   (1) that his counsel’s actions fell below an objective standard of reasonableness and (2)

   that his counsel’s ineffective assistance was prejudicial. See Strickland v. Washington,

   466 U.S. 668, 687, 104 S. Ct. 2052, 2064 (1984); Bryant v. Scott, 28 F.2d 1411, 1414-15

   (5th Cir. 1994). Under the first prong of the Strickland analysis, a claimant must show that

   his counsel “made errors so serious that counsel was not functioning as the ‘counsel’

   guaranteed the defendant by the Sixth Amendment.” 466 U.S. at 687, 104 S. Ct. at 2064.

   The court is to presume that counsel’s actions are encompassed within the wide range of

   reasonable competence. See id. at 690, 104 S. Ct. at 2065. The defendant may overcome



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   this presumption only by showing that under the totality of the circumstances, counsel’s

   performance was “outside the wide range of professionally competent assistance.” Id.,

   104 S. Ct. at 2066.

          Under the second prong of the Strickland test, a claimant must show “that there is

   a reasonable probability that, but for counsel’s specified errors, the result of the

   proceeding would have been different.” 466 U.S. at 694, 104 S. Ct. at 2068; Murray v.

   Maggio, 736 F.2d 279, 282 (5th Cir. 1984). “A reasonable probability is a probability to

   undermine confidence in the outcome.” Strickland, 466 U.S. at 694, 104 S. Ct. at 2068. A

   claimant must demonstrate that counsel’s errors “were so serious as to render the

   proceeding unreliable and fundamentally unfair.” United States v. Saenz-Forero, 27 F.3d

   1016, 1021 (5th Cir. 1994) (citation omitted). “A court need not address both components

   of the inquiry if the defendant makes an insufficient showing on one.” Armstead v. Scott,

   37 F.3d 202, 210 (5th Cir. 1994).

          Claims two, three, four, six, and seven of Cuff’s Amended Section 2255 Motion

   raise ineffective assistance of counsel claims. The Court will address each claim

   separately in the following sections

          A.     Claim that Karns was ineffective for failing to seek a competency
                 review

          Claim two of Cuff’s Section 2255 Motion avers that Karns was ineffective because

   he failed to move for a competency review pursuant to 18 U.S.C. § 4241. Section 4241

   states in pertinent part that a court can only grant this motion:

          if there is reasonable cause to believe that the defendant may presently be
          suffering from a mental disease or defect rendering him mentally
          incompetent to the extent that he is unable to understand the nature and
          consequences of the proceedings against him or to assist properly in his
          defense.


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   During the guilty plea, in response to the Court’s question regarding his suffering from

   post-traumatic stress syndrome, Cuff, who was under oath, stated that he was starting

   treatment for the post-traumatic stress syndrome that he developed since being stationed

   in Somalia. See Record Document 453, Guilty Plea Tr. at 8. The Court specifically asked

   Cuff, “You have any mental or physical problems that would limit your ability to understand

   what is happening?” Cuff responded, “I don’t believe so, Your Honor, no.” Id. Further,

   both the Assistant United States Attorney and Karns stated that Cuff was competent. See

   id. at 9. Therefore, the Court stated, “The Court finds the defendant competent to plead

   guilty to Count 1 today.” Id.

          Sworn statements in “open court during a plea hearing ‘carry a strong presumption

   of verity.’” United States v. Martinez-Molina, 64 F.3d 719, 733 (5th Cir. 1995) (citing

   Blackledge v. Allison, 431 U.S. 63, 74, 97 S. Ct. 1621, 1629 (1977)). In the present action,

   Cuff has failed to present any evidence to refute his statements made under oath.

   Furthermore, at the end of the guilty plea, the Court stated, “I am concerned over not a

   mental competency issue, I’m concerned over a mental status issue, and I have provided

   counsel with the name of a local Ph.D. psychologist, clinical psychologist, who

   can conduct that.” Record Document 453 at 30. The Court stated that it was concerned

   that Cuff needed medication and that he was “properly classified” in his place of detention.

   Id. Thus, Karns’ actions were not unreasonable nor prejudicial. Karns cannot be deemed

   ineffective for failing to raise a meritless claim. United States v. Gibson, 55 F.3d 173, 179

   (5th Cir. 1995) (“Counsel is not required by the Sixth Amendment to file meritless

   motions.”); Koch v. Puckett, 907 F.2d 524, 527 (5th Cir. 1990) (“[C]ounsel is not required

   to make futile motions or objections.”). Accordingly, the Court rejects Cuff’s claim that



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   Karns was ineffective for failing to seek a mental competency review pursuant to 18

   U.S.C. § 4241.

          B.     Claim that Karns was ineffective for failing to investigate “mental
                 defenses” before advising Cuff as to his guilty plea

          Cuff argues that Karns was ineffective because he did not investigate “mental

   defenses” before advising Cuff as to his guilty plea. The mental defenses that Cuff argues

   Karns failed to raise are insanity, involuntary intoxication, and diminished capacity. “In

   any ineffectiveness case, a particular decision not to investigate must be directly

   assessed for reasonableness in all the circumstances, applying a heavy measure of

   deference to counsel’s judgments.” Strickland v. Washington, 466 U.S. 668, 691, 104 S.

   Ct. 2052, 2066 (1984). Trial counsel are “entitled to formulate a strategy that was

   reasonable at the time and to balance limited resources in accord with effective trial tactics

   and strategies.” Harrington v. Richter, 562 U.S. 86, 107, 131 S. Ct. 770, 789 (2011);

   United States v. Bernard, 762 F.3d 467, 474 (5th Cir. 2014). The decision not to pursue

   the insanity defense was strategic in the hopes of getting Cuff the best possible deal.

   United States v. Green, 116 F.3d 1115, 1122 (5th Cir. 1997) (“There is sufficient evidence

   demonstrating that the decision not to proffer an insanity defense was a ‘conscious and

   informed’ tactical one.”). Furthermore, it should be noted that Karns had the opportunity

   to examine Cuff’s medical evaluations and chose not to pursue a mental defense. Karns’

   actions are entitled to heavy deference. It should be noted that if we were to allow every

   defendant to second guess counsel’s decisions, judicial efficiency would be severely

   eroded.

          Nonetheless, Cuff attaches numerous exhibits in support of the proposition that

   the medication he took to prevent malaria was responsible for mental health issues


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   leading to his criminal conduct. However, this argument has already been rejected by the

   Court. During the argument on the Motion to Withdraw Cuff’s Guilty Plea, the Court stated,

   “I am absolutely stunned that all of the information that you provide us as a theory does

   not match up with what was going on during the career of his military service, during the

   time of the video and all the other acts of molestation that were videoed that were viewed

   by the Court and the counsel this morning.” Record Document 572, Sent. Tr. at 19. The

   Court remarked that Cuff was competent when he performed at a high level in the military.

   Thus, Cuff was competent when he engaged in criminal conduct. See id.

          Moreover, in arguing the Motion to Withdraw Cuff’s Guilty Plea, Schweitzer

   contended that he should be able to withdraw his plea and “be allowed to work up a case

   of insanity.” Id. at 21. At that point, Schweitzer argued that Karns did not know at the time

   of the guilty plea that Cuff had been taking a medication for malaria that rendered him

   “insane.” See id. at 22. The Court rejected this argument. Again, the Court pointed out

   that Cuff’s work as well as his ability to mask his criminal behavior demonstrated a “highly

   functioning cognitive level of thinking.” Id. at 25. For instance, the child pornography that

   was the subject of the case had been in his home computers. See id. at 26. The Court

   remarked that Cuff’s actions, specifically with the five-year old girl, were not “connected

   to insanity” but rather were “connected to a very cold, calculating purposeful defendant,

   who on the one hand had what appears to be a sterling record in the United States Navy

   and high involvement requiring high cognitive functioning with respect to various projects

   assigned to him over the years.” Id. at 38.

          In denying the Motion to Withdraw Cuff’s Guilty Plea, the Court stated, “Based on

   what I’m seeing, the causal connection between taking this one drug and his heinous acts



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   of child molestation…simply are deviant behavior with enough cognition in that frontal

   cortex area to hide this from the real world in which he lived and worked.” Id. at 42.

   Therefore, based on the sentencing transcript and review of the record, the Court finds

   that Cuff has failed to present any evidence that would change the Court’s position.

   Accordingly, Karns was not ineffective in failing to further investigate Cuff’s potential

   mental defenses because such defenses would not have been viable and trial counsel is

   accorded a heavy measure of deference. See Strickland v. Washington, 466 U.S. 668,

   691, 104 S. Ct. 2052, 2066 (1984).

          C.     Claim that Karns was ineffective for failing to investigate the use
                 of the name “slapalot”

          Cuff contends that Karns was ineffective for failing to investigate the username

   “slapalot.” Cuff argues that the username was used by others. Under oath, Cuff

   acknowledged that the factual basis was an accurate recitation of his “involvement in the

   role of the enterprise.” Record Document 453, Guilty Plea Tr. at 6. This factual basis

   stated on at least four occasions that the Defendant was Robert Cuff a.k.a. slapalot. See

   Record Document 387-2 at 4. Accordingly, the Court finds that Karns cannot be

   considered ineffective for failing to investigate a meritless assertion.

          D.     Claim that Karns was ineffective for failing to investigate the lack of
                 the mens rea element in the indictment

          Cuff contends that the indictment was constitutionally defective because it lacked

   a mens rea element. In the alternative, Cuff claims Karns was ineffective for failing to

   raise that issue.

          The issue concerning the indictment is procedurally barred, as Cuff has not

   established cause or prejudice for failure to raise this claim before. A similar claim was



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   discussed on appeal in which Cuff argued that the factual stipulation submitted at the time

   of the guilty plea did not establish that he posted advertisements “in concert with three or

   more other persons.” See Record Document 679. The Fifth Circuit remarked this issue

   was novel but found that factual stipulation did show that he acted in concert with three

   or more persons. See id. Cuff failed to raise the “knowingly” argument on direct appeal.

   Therefore, Cuff’s claim is procedurally barred because he has failed to show cause and

   actual prejudice.

          In the alternative, Cuff argues ineffective assistance of counsel due to Karns

   alleged failure to raise the mens rea element in his defense. Cuff contends that nothing

   in the record shows that he “knowingly” acted with anyone. As the description of the

   complex arrangement of Dreamboard shows, in submitting material, Cuff knew that he

   was acting with three or more individuals. Nevertheless, his counsel cannot be considered

   ineffective for failing to raise this novel issue. United States v. Seyfert, 67 F.3d 544, 548

   (5th Cir. 1995) (not ineffective for counsel to fail to raise an “innovative sentencing issue”);

   Davis v. Wainwright, 547 F.2d 261, 264 (5th Cir. 1977) (effectiveness of counsel does not

   “require an imaginative assertion of every possible theory of defense or mitigation which

   might in the unpredictable future turn out to be accepted by some court some day in some

   case”).

          Accordingly, the Court finds that Cuff’s claim is procedurally barred. In the

   alternative, Karns was not ineffective for failing to investigate the lack of the mens rea

   element in the indictment.




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         E.     Claim that Karns was ineffective for failing to object to the
                enhancement

         Cuff argues that Karns was ineffective for failing to object to the enhancement

   under U.S.S.G. § 4B1.5(b). In order to show that counsel’s performance at sentencing in

   a noncapital case was prejudicial under Strickland, a defendant must demonstrate that

   counsel’s error led to some increase in the length of his imprisonment. Glover v. United

   States, 531 U.S. 198, 203, 121 S. Ct. 696, 700 (2001); United States v. Herrera, 412 F.3d

   577, 581 (5th Cir. 2005).

         Cuff asserts that the enhancement should not apply to child pornography offenses.

   However, Cuff did not plead guilty to a child pornography offense. Cuff pleaded guilty to

   engaging in child exploitation enterprise. See Record Document 387. Objecting to the

   enhancement would not have altered the Cuff’s sentence, as he has not presented a

   viable basis for an objection. United States v. Rosales-Miranda, 434 F. App’x 404, 405

   (5th Cir. 2011) (because an objection to a sentencing enhancement would have been

   unsuccessful, defendant could not establish ineffective assistance of counsel); United

   States v. Saenz-Forero, 27 F.3d 1016, 1021 (5th Cir. 1994) (sentencing court correctly

   applied enhancement; therefore, objection by counsel would have been fruitless, and

   defendant failed to establish ineffective assistance of counsel). Accordingly, the Court

   finds that Karns was not ineffective for failing to object to the sentencing enhancement

   pursuant to U.S.S.G. § 4B1.5(b) because Cuff pleaded guilty to engaging in a child

   exploitation enterprise, which results in a sentencing enhancement.




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          F.     Claim that Karns was ineffective for failing to advise Cuff that
                 he would face a life sentence if he pleaded guilty

          Cuff argues that Karns was ineffective in failing to advise him that he could face a

   life sentence if he pleaded guilty. At sentencing, in addressing the five-level enhancement

   which resulted in the Cuff’s life sentence, Karns argued that Cuff was not aware of the

   possibility of that enhancement when he pleaded guilty. See Record Document 572, Sent.

   Tr. at 51. Karns, who had represented Cuff at the guilty plea stated, “I didn’t advise him

   of the possibilities of a plus-five, yes.” Id. The Court addressed that argument by stating

   “If every defense counsel advised of every possible enhancement, you would never stop

   advising.” Id. at 52.

          Moreover, Cuff was aware of that he could potentially face life imprisonment. The

   Court in accepting Cuff’s guilty plea stated that the indictment says that Robert Cuff, a/k/a

   DD0040, Slapalot, understands and agrees, first, that the maximum punishment on Count

   1 is a statutory mandatory minimum sentence of not less than 20 years nor more than life

   in prison. You see that?.” Record Document 435, Guilty Plea Tr. at 22. Cuff responded,

   “Yes, your Honor.” Id. The Court further stated “If you get to court and you have a fixed

   idea of what your sentence will be, if I sentence you to more time than you anticipate, I

   need you to understand this: You're still bound by the guilty plea that you have entered,

   under oath, in this court today. Do you understand that?”. Id. at 28. Cuff responded, “Yes,

   your Honor.” Id.

          Accordingly, the Court finds that Karns was not ineffective in failing to advise Cuff

   that he would potentially face a life sentence if he pleaded guilty.




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                                         CONCLUSION

          Cuff is procedurally barred from asserting claim one and claim five. As to Cuff’s

   ineffective assistance of counsel claims, Cuff is unable to demonstrate both of the

   necessary elements of the Strickland test. Therefore, Cuff’s Section 2255 Motion is

   DENIED.

          Pursuant to Rule 11(a) of the Rules governing Section 2255 proceedings for the

   United States District Courts, this Court must issue or deny a certificate of appealability

   when it enters a final order adverse to the applicant. Unless a Circuit Justice or a Circuit

   or District Judge issues a certificate of appealability, an appeal may not be taken to the

   court of appeals. In this instance, a certificate of appealability is DENIED because Cuff

   has failed to demonstrate a substantial showing of the denial of a constitutional right.

          THUS DONE AND SIGNED at Shreveport, Louisiana, on this the 12th day of

   March, 2018.




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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          SHREVEPORT DIVISION


UNITED STATES OF AMERICA,
                                                No. 5:11-CR-00062-SMH-MLH-21
             Plaintiff,
      vs.                                       Judge HICKS

                                                Magistrate Judge HORNSBY
ROBERT CUFF, aka Slapolot, dd0040

             Defendant.




   RULE 59 (E) MOTION TO ALTER OR AMEND JUDGMENT THAT
  DENIED CUFF’S 2255 MOTION TO VACATE HIS CONVICTION AND
                          SENTENCE

      Pursuant to Rule 59 (e) of the Federal Rules of Civil Procedure, Robert Cuff,

through his attorney Michael R. Levine, moves the Court to alter or amend its

judgment of March 12, 2018, which denied Cuff’s motion to vacate his conviction

and sentence, pursuant to 28 U.S.C. § 2255.

      This motion is based on the records of the case, the accompanying

memorandum and exhibits, and upon such argument and evidence as the Court will

receive at a hearing on the motion.




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                           Respectfully Submitted

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                          CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that on April 9, 2018, I caused to be

served the above Rule 59 (e) Motion by ECF in the Western District of Louisiana.

All parties are signed on to this service.

                                        /s/ Michael R. Levine
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                 IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                         SHREVEPORT DIVISION


UNITED STATES OF AMERICA,
                                               No. 5:11-CR-00062-SMH-MLH-21
            Plaintiff,
      vs.                                      Judge HICKS

                                               Magistrate Judge HORNSBY
ROBERT CUFF, aka Slapolot, dd0040

            Defendant.




    MEMORANDUM IN SUPPORT OF RULE 59 (E) MOTION TO
 RECONSIDER DENIAL OF MOTION TO VACATE CONVICTION AND
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      MEMORANDUM IN SUPPORT OF RULE 59 (E) MOTION

      On December 1, 2011, represented by attorney Stephen Karns (“Karns”),

defendant Robert Cuff (“Cuff”) pled guilty to the crime of engaging in a child

exploitation enterprise in violation of 18 U.S.C.§ 2252A(g). On July 12, 2012,

Cuff, represented at that time by attorney Eric Schweitzer (“Schweitzer”) in

addition to Karns, moved to withdraw his guilty plea. Doc. 521. The Court denied

the motion. The Court sentenced Cuff to life imprisonment and lifetime supervised

release. Doc. 540. The defendant appealed, and on August 7, 2013, the Fifth

Circuit affirmed his conviction and sentence. Doc. 679. The Supreme Court of the

United States denied the defendant’s petition for certiorari. Doc. 692.

      On December 6, 2014 and December 15, 2014, represented by attorney

Steven Hormel (“Hormel”), the defendant moved to vacate his conviction and

sentence pursuant to 28 U.S.C. § 2255. Docs. 732, 737. Among other things, Cuff

raised the following claims:

   (1) The government breached the plea agreement not to prosecute him for

         another offense;

   (2) Attorney Karns was ineffective for failing to move for a competency review

         before the sentencing under 18 U.S.C. § 4241;

   (3) Attorney Karns was ineffective for failing to investigate defenses of insanity

         or involuntary intoxication;

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   (4) Attorney Karns was ineffective for failing to investigate the case;

   (5) The conviction for engaging in a child exploitation enterprise under 18

         U.S.C. 2252(A)(g) was constitutionally defective because the statute

         lacked a mens rea element that would require the prosecution to prove

         that Cuff knowingly acted in concert with three or more persons, and

         alternatively, that trial counsel Karns was ineffective in failing to raise the

         mens rea element in Cuff’s defense;

   (6) Attorney Karns was ineffective for failing to object to the five-level

         enhancement under U.S.S.G. § 4B1.5 (b); and

   (7) Attorney Karns was ineffective for failing to ensure that Cuff fully

         understood at the change of plea hearing that district court could impose a

         term of life in prison even if Cuff waived his right to a jury trial, resulting

         in an involuntary and unknowing plea.

                                   ARGUMENT

   A. UNDER RULE 59(E), THE COURT HAS AUTHORITY TO ALTER
   OR AMEND ITS JUDGMENT AND VACATE THE CONVICTION AND
   SENTENCE.

     Federal Rule of Civil Procedure 59(e) grants the Court the power to alter or

amend its judgment. A motion under this Rule “serves the narrow purpose of

allowing a party to correct manifest errors of law or fact or to present newly

discovered evidence.” Waltman v. International Paper Co., 875 F.2d 468, 473 (5th

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Cir. 1989); Templet v. HydroChem Inc., 367 F.3d 473, 478-79 (5th Cir. 2004). A

Rule 59(e) motion “must clearly establish either a manifest error of law or fact or

must present newly discovered evidence and cannot be used to raise arguments

which could, and should, have been made before the judgment issued. Rosenzweig

v. Azurix Corp., 332 F.3d 854, 863 (5th Cir. 2003). The motion “calls into question

the correctness of a judgment.” Templet, 367 F.3d at 478. The Court has broad

discretion with respect to granting this motion, but “reconsideration of a judgment

after its entry is an extraordinary remedy that should be used sparingly.” Id. at 479.

In exercising its discretion, “a district court must strike the proper balance between

the need for finality and the need to render just decisions on the basis of all the

facts.” Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995).

   B. THE COURT SHOULD ALTER OR AMEND ITS JUDGMENT WITH
   RESPECT TO THE ISSUE OF WHETHER TRIAL COUNSEL WAS
   INEFFECTIVE IN NOT MOVING FOR A COMPETENCY HEARING
   BEFORE CUFF WAS SENTENCED.

      1. The defendant’s statement at the plea hearing that he had PTSD and
      “believed” it was not affecting him was a red flag.

      At the time that Cuff entered his plea of guilty, the Court asked Cuff if had

had medical problems in the past. He responded somewhat strangely and

incoherently: “I was told I did, but I was helped out of the questioning [sic]. When

you leave a war zone, they – the corpsman would help me do the paperwork so I

wouldn't fail it. [sic]” 12/1/2011 TR 7, lines 18-20. This strange answer is

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indicative of a thought disorder of some kind. The Court then asked Cuff if he

suffered from post-traumatic stress syndrome, and he responded, “I was told I did

since Somalia, Your Honor.” Id. lines 23-24. The Court then asked whether Cuff

had “recover[ed] from the PTSD, and Mr. Cuff responded, “No, Your Honor.” RT

8, line 2. The Court then asked Cuff whether he was being actively treated for the

PTSD, and he responded that he was just starting treatment. RT 8, lines 5-7.

Finally, the Court asked Cuff if was on any kind of medication, and he responded

he was not.

       Later in the plea colloquy, the Court stated as follows: “In discussions held

off the record before we convened today, I am concerned over not a

mental competency issue, I'm concerned over a mental status issue, and I have

provided counsel with the name of a local Ph.D. psychologist, clinical psychologist,

who can conduct that. I am concerned that he may need to be on medication -- I

don't know the answer to that.” RT 30: 3-10.

      Cuff answered one of the Court’s questions in an incoherent manner. In

addition, he told the Court that he was suffering from PTSD and had not recovered

from that mental disorder. PTSD is a serious mental illness arising from

experiencing, witnessing, or hearing about traumatic events. “PTSD is not

uncommon among veterans returning from combat.” Porter v. McCollum, 558 U.S.

30, 36 (2009). Symptoms include “behaving recklessly or in a self-destructive

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way.” Diagnostic and Statistical Manual of Mental Disorders (DSM-V) (criterion E

for PTSD). They also include “having problems concentrating, experiencing events

as if one were an outside observer of or detached from oneself (e.g., feeling as if

“this is not happening to me" or one were in a dream),” or experiencing events as

“unreality, distance, or distortion (e.g., “things are not real”). Id. PTSD can be “a

grave affliction.” United States v. Cantu, 12 F.3d 1506, 1513 (9th Cir. 1993). The

symptoms of both PTSD seriously impair a defendant’s ability to understand legal

proceedings and assist his attorney.

      Upon hearing Cuff’s strange and incoherent answer to the question whether

he had medical issues in the past, and upon hearing his statements to the Court as to

his “belief” that he understood the proceedings, and upon hearing that he had not

recovered from PTSD, trial attorney Karns should have been alerted to Cuff’s

impaired mental state and questioned Cuff’s competency at that stage. This is

particularly true when the Court itself expressed its concern over Cuff’s “mental

status issue” and wanted to ascertain if Cuff should be on medication.

      Before having Cuff enter a guilty plea, Karns should have moved for a

competency hearing under 18 U.S.C. § 4241. See Bouchillon v. Collins, 907 F.2d

589, 597 (5th Cir. 990) (trial counsel was ineffective in failing to investigate client’s

competence after he had notice of client’s past institutionalization). The Court also

had a sua sponte duty to call for such a hearing. See Mata v. Johnson, 210 F.3d

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324, 330 (5th Cir. 2000) (court “must conduct an inquiry into the defendant's mental

capacity, either sua sponte or in response to a motion by petitioner's counsel, if the

evidence raises a bona fide doubt as to his competency.”). In any event, Karns

should surely have done so before Cuff was sentenced. As will be shown below,

the Court should reconsider its judgment on this issue.

      2. The defendant’s statement at the guilty plea hearing that he did not believe
      he had a mental illness affecting his ability to understand the proceedings is
      not dispositive.

     In its opinion (“Op.”) denying the 2255 motion, the Court relied upon Cuff’s

response at the plea colloquy that he did not believe that he had a mental problem

that would limit his ability to understand what was happening. Op. at 18. The

court should reconsider its reliance on this statement. Cuff’s statement that he did

“not believe” he had a mental problem that would limit his ability to understand

what was happening in court is hardly a ringing, definitive statement of

competency. The vast majority of competent persons asked such a question would

simply answer, “No.” It is true that later in the same sentence Cuff answered, “No,”

but his initial, tentative “I believe” should have alerted both trial counsel and the

Court that a serious question existed as to whether Cuff fully understood what was

happening. See Anderson v. United States, 865 F.3d 914, 920 (7th Cir. 2017) (in

response to court’s question whether defendant understood what was happening, his



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reply that he understood “as good as I can” acknowledged “some inability to think

clearly and participate in the proceedings”).

       In its opinion the Court relied on the principle that statements in “open court

during a plea hearing carry a strong presumption of verity.” United States v.

Martinez-Molina, 64 F.3d 719, 733 (5th Cir. 1995) (citing Blackledge v. Allison,

431 U.S. 63, 74 (1977)). Op. at 11. While this principle is true in general, it

applies with much less force in the case of a person who suffers from a mental

illness. See e.g., Anderson, 865 F.3d at 920 (“Anderson's belief about the effects of

his medication is inadequate assurance that he was capable of entering a plea: A

person grappling with a serious mental illness or under the influence of

psychotropic drugs cannot be assumed to have a reliable understanding of his

faculties.”).

       The failure of certain mentally ill persons to recognize their illness or the

effect it is having is a well known syndrome called Anosognosia. In the words of

one court, it is “the failure to appreciate one’s own illness.” Struck v. Cook County

Public Guardian, 901 N.E.2d 946, 948 (Ill.App. 2008). Anosognosia is a common

consequence of brain injuries, and occurs to varying degrees in such disorders such

as schizophrenia, bipolar disorder, and Alzheimer’s disease. Therefore, the Court

should reconsider its view of the weight to be given Cuff’s statement at the entry of

his guilty plea.

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      3. Mr. Karns’ opinion of Cuff’s competence is not dispositive.

      In finding that Cuff was competent to be sentenced, the Court relied on the

opinion of trial counsel Karns at the time of the plea that Cuff was competent to

proceed. Op. 11. In the usual case, trial counsel’s opinion as to his client’s mental

state appropriately carries great weight; nevertheless, the law is clear that lawyers

have no special ability to diagnose mental illnesses and their effects on their clients’

mental state. See Bouchillon, 907 F.2d at 593–94 (“the state court, in reviewing

Bouchillon's petition, relied almost exclusively on the evidence of Bouchillon's

demeanor at the plea proceeding and the testimony of his trial counsel to hold that

he was competent . . . [T]he existence of even a severe psychiatric defect is not

always apparent to laymen . . . . One need not be catatonic, raving or frothing, to be

[legally incompetent.]”) (citations omitted); Maxwell v. Roe, 606 F.3d 561, 574 (9th

Cir. 2010) (“[A]lthough we acknowledge that defense counsel will often have the

best-informed view of the defendant’s ability to participate in his defense, we have

recognized that counsel is not a trained mental health professional and his failure to

raise petitioner’s competence does not establish that petitioner was competent.”)

(citations omitted). Therefore, Karns’ opinion at the time of the guilty plea is not

dispositive.




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      4. Trial counsel should have moved for a competency hearing before
      sentencing.

      On May 10, 2012, two months before sentencing, Dr. Nevin Remington

examined Mr. Cuff’s medical history. He concluded that Cuff’s personality

changes and “profound impairment in short-term memory” were “consistent with

possible late neurotoxic effects of limbic encephalopathy caused by repeated

mefloquine intoxication.” Exhibit 4 at page 37 (Cuff’s Navy medical records).

These Navy records are new evidence that was not before the Court at the time it

denied the 2255 motion. Dr. Nevin observed that Cuff reported symptom of

“abnormal dreams, anxiety, and paranoid reactions.” Id. Finally, Dr. Remington

observed that mefloquine intoxication has been associated with “a morbid

fascination with violence and violent objects, aggression, increased impulsivity, and

sexual inhibition.” Id.

       About May 18, 2012, Mr. Cuff was found unresponsive after complaining

the evening before of a headache. Id. at 33. H was taken to LSUHSC where he

was admitted with a diagnosis of “altered level of consciousness and altered mental

status, with a Glasgow Coma Scale of 3.” Id. In Dr. Remington’s opinion, Cuff’s

symptoms were “highly suspicious for a deep brain or brainstem seizure” and

provided “further support for the diagnosis of neurotoxic injury from his earlier use

of mefloquine.” Id. In a later report, dated June 12, 2012, Dr. Remington noted that


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when Cuff had been found unresponsive, he remained so even when “painful

stimuli” were applied. Id. at page 31. In addition, his pupils were sluggish.” Id.

Dr. Remington reviewed additional records and concluded that they “further

substantiate[d] the assessment” that Cuff likely “suffered a deep brain or limbic

seizure related to neurotoxicity from his early use of mefloquine, and that his

condition was “chronic and unstable.” Id.

      At the sentencing hearing, attorney Schweitzer presented the reports of Dr.

Nevin and Dr. Stanulis opining that Cuff suffered from encephalopathy (brain

damage) from his early use of mefloquine; and that such damage contributed to his

criminal conduct. At the sentencing hearing, the Court expressed disagreement

with these conclusions. See RT 7/13/2012 RT 5, lines 10-11 (“I realize you say it's

unquestionably. I question that myself with respect to those conclusions.”); id. at

page 6, Lines 2-3 (“Nor does it mean that I have to accept [Dr. Nevin’s conclusion]

on its face, as an expert opinion.”). The Court was of the view that the conclusion

of Dr. Nevin and Dr. Stanulis respecting the effects of mefloqine were “more

cutting-edge theory than . . . accepted fact. I have a problem with respect to that

which has been submitted.” RT 8: lines 20-22. The Court went on to say, “On its

face, [the conclusion of Dr. Nevin] does not meet a Daubert standard, in the Court’s

opinion. The Court finds that this is a cutting-edge issue and is by no means

accepted fact.” RT 10: 10-12. Because Dr. Nevin had not physically examined

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Cuff, the Court entirely discounted his opinion. See RT 17: 13-14 (“And all doctors

are to be believed under all sets of circumstances; am I correct on that?”); RT 34: 6-

8 (That Cuff has encephalopathy “is a theory, supposition. The perseveration is

consistent with but is not diagnosed as encephalopathy.”).

    The Court should reconsider its view light of new evidence. See Exhibit 12

(Bureau of Prison (“BOP”) Health Services Report). As of January 9, 2018, Dr.

Vyneda Smith of the BOP Health Services diagnosed Cuff as suffering from

Psychosis (both visual and auditory hallucinations), Schizophrenia, and

“Mefloquine brain disorder.” Id. at page 12 (emphasis added). He was also

diagnosed with Posttraumatic Stress Disorder with Psychotic Features. Id. at page

21. Unfortunately, he is now also suffering from non-Hodgkins “stage IV diffuse

large B cell lymphoma.” Id. at 12. Because the new evidence confirms Dr. Nevin’s

conclusion that at the time of his criminal conduct, Cuff was suffering from a brain

disorder caused by use of Mefloquine, the Court should alter and amend its

judgment with respect to whether his plea and or sentence should be vacated.

      The following additional new evidence confirms that serious brain damage

and psychotic symptoms flow from mefloquine use. See Exhibit 5, article

published September, 2013, “Brain-damaging Side Effects Force Army to Pull

Mefloquine” (“The top doctor for Green Berets and other elite Army commandos

has told troops to immediately stop taking mefloqine, an anti-malaria drug found to

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cause permanent brain damage in rare cases”); Exhibit 1, article published June 8,

2016, (“Melofquiine-induced neuropsychiatric symptoms can be life debilitating”);

Exhibit 6, article published November 12, 2015 in the Pharmaceutical Journal

(“The overwhelming evidence about the dangers of long-term use of mefloquine

leaves the UK Ministry of Defence little excuse to continue giving this drug to

soldiers.”); Exhibit 2, article published 2015 from Academy of Psychosomatic

Medicine, “Depersonalization/Derealization Disorder After Exposure to

Mefloquine”); Exhibit 3, article published 2015, “Behavioral effects of Mefloqine

in tail suspension and light/dark tests” (“In the past 10-15 years concerns about

mefloquine’ s neuropsychiatric side effects have grown.” ); Exhibit 10, article

published 2015 by Nevin and Ritchie, “The Mefloquine Intoxication Syndrome”

(Acute mefloquine intoxication may produce vivid, hyper-realistic nightmares that

may precede a manic, paranoid, dissociative or confuse psychosis, often marred by

horrific auditory and visual hallucinations”); Exhibit 9, article published October,

2016 in Federal Practitioner, “FDA Black Box, VA Red ink?....” (“The FDA in July

2013 included a black box warning describing [neuropsychiatric reactions]

potentially could persist long after the drug has been discontinued . . . .

Consequently, more than a quarter century after its introduction, mefloquine now is

only rarely prescribed to members of the U.S. military.”); Exhibit 8, article

published 2013 in the Journal of the American Psychiatry and the Law, “Psychiatric

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Side Effects of Mefloquine: Applications to Forensic Psychiatry” (“severe

psychiatric side effects due to mefloquine intoxication are well documented

including anxiety, panic attacks, paranoia, persecutory delusions, dissociative

psychosis, and anterograde amnesia. Exposure to the drug has bene associated with

acts of violence and suicide.”).

      Finally, and most importantly, on August 29, 2014, Dr. Byron Herbel, a

Board Certified Psychiatrist with the Bureau of Prisons, determined that Cuff was

incompetent to proceed with a case in the Western District of Texas. Exhibit 14.

Dr. Herbel wrote that “Mr. Cuff is suffering from a mental disease or defect

rendering him mentally incompetent to the extent he is unable to understand the

nature and consequence of the proceedings filed against him or assist properly in

his own defense.” Among his other findings, Dr. Herbel diagnosed Cuff as

suffering from “Major Neurocognitive Disorder Due To Multiple Etiologies—

severe chronic alcohol use, plausible limbic neurotoxicity from past mefloquine

exposure, and past traumatic brain injury (Provisional) and also from Mefloquine-

Induced Psychotic Disorder (Provisional).” The Curt’s opinion makes no mention

of this report from the BOP. If Cuff was incompetent on August 29, 2014,

suffering in part from the effects of mefloquine, he very likely was just as

incompetent in July of 2012.



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      At the sentencing, the Court was justifiably outraged by the defendant’s

conduct as depicted on the videotapes. The Court believed that Cuff was a “very

cold, calculating, purposeful defendant.” RT 38:10-11. The Court should reconsider

its view. The Court should bear in mind that this conduct may well have been

caused in part by forces outside of the defendant’s control, namely, progressive

brain damage stemming from use of mefloquine, which, through no fault of his

own, led to distortion of Cuff’s judgment and loosening of his sexual inhibitions.

While not excusing criminal conduct, such brain damage should mitigate the

sentence at least to some extent. After all, there is an enormous difference between

a person who intentionally and deliberately commits criminal acts and one who

commits them because brain damage over which he has no control has impaired his

judgement. See U.S.S.G. § 5H1.3 (“mental and emotional conditions may be

relevant in determining whether a departure is warranted….”); §5K2.13 (departure

may be warranted if (1) the defendant committed the offense while suffering from

“a significantly reduced mental capacity” and this reduced capacity “contributed

substantially to the commission of the crime”).

      At sentencing the Court also rejected the experts’ opinion because it found it

inconsistent that the brain damage did not affect Cuff’s work for the military which

was exemplary, while at the same time contributed to his criminal conduct while not

at work. The Court referred to the “Jekyll-and-Hyde type of activity that we have

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involved here: the sterling, unassailable military record, with multiple medals and

citations, and the hiding or the so-called dark side of behavior of this defendant, the

Court is unable to reconcile the light in day versus the nighttime of this defendant.”

RT 76: 15-20. The Court should reconsider this view in light of the new evidence

presented: Mefloquine produces just such “Jekyll-and-Hyde” type of activity. See

Exhibit 2 (“Depersonalization/Derealization Disorder after Exposure to

Mefloqine”) (“Although [the patient] recognized himself in the photo, he said it

“didn’t feel like it was me.”).

      The Court was of the view that Mr. Cuff’s retaining of attorney Schweitzer at

the last moment was “a clear attempt to subvert the process by new defense

counsel.” RT 73: 16-17. The Court was unaware that the defendant’s sister,

Jacqueline Seibert, had been trying desperately for months to retain a different

attorney who misled her with respect to his coming into the case.

See Exhibit 16 (email correspondence between Seibert and attorney Sheppard).

      In view of the foregoing new evidence, the Court should consider that is

skepticism at sentencing with respect to the Dr. Nevin’s opinion was unwarranted.

The Court should therefore alter or amend its judgment.




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    C. THE COURT SHOULD ALTER OR AMEND ITS JUDGMENT
    WITH RESPECT TO WHETHER TRIAL COUNSEL WAS
    INEFFECITVE IN NOT INVESTIGATING CUFF’S MENTAL
    CONDITION BEFORE ADVISING HIM TO PLEAD GUILTY.


      It is clear that attorney Karns did not conduct the necessary investigation into

Cuff’s mental state and history with mefloquine before advising him to plead guilty.

Investigation must precede the formulation of defense strategy. See Escamilla v.

Stephens, 749 F.3d 380, 392 (5th Cir. 2014) (“if a purportedly tactical decision is

not preceded by a reasonable investigation, then it is not sufficiently informed and

not entitled to the deference typically afforded counsel's choices”); Weeden v.

Johnson, 854 F.3d 1063 (9th Cir. 2017) (trial counsel was ineffective in failing to

investigate psychological evidence about effect of petitioner's mental state before

formulating defense strategy).

      For the reasons set forth in Argument B above, the Court should amend or

alter its judgment with respect to this issue.

    D. THE COURT SHOULD ALTER OR AMEND ITS JUDGMENT
    WITH RESPECT TO THE ISSUE OF WHETHER THE
    GOVERNMENT BREACHED THE PLEA AGREEMENT.

      If a guilty plea is entered as part of a plea agreement, “the government must

strictly adhere to the terms and conditions of its promises.” United States v. Harper,

643 F.3d 135, 139 (5th Cir. 2011); United States v. Valencia, 985 F.2d 758, 760 (5th

Cir.1993) (same). As the Supreme Court has admonished, if a guilty plea “rests in

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any significant degree on a promise or agreement of the prosecutor, so that it can be

said to be part of the inducement or consideration, such promise must be fulfilled.”

Santobello v. New York, 404 U.S. 257, 262 (1971).

      It is well settled that a guilty plea based on a breached plea agreement “is

subject to collateral attack under the writ of habeas corpus… Such a plea is also

necessarily subject to collateral attack under § 2255.” United States v. Cates, 952

F.2d 149, 151–52 (5th Cir. 1992); see United States v. Borders, 992 F.2d 563, 566

(5th Cir. 1993) (“A defendant may collaterally attack his guilty plea on the grounds

of an alleged violation of the plea agreement.”).

       “Whether the government's conduct violated the terms of the plea agreement

is a question of law.” United States v. Palomo, 998 F.2d 253, 256 (5th Cir. 1993)

(quotation omitted); A defendant bears the burden of proving the underlying facts

establishing a breach by a preponderance of the evidence, Id; however, any

ambiguity in the terms of a plea agreement are construed against the government.

United States v. Escobedo, 757 F.3d 229, 233 (5th Cir. 2014).

      In the first claim of his Section 2255 motion, Cuff asserted that the

government breached the plea agreement by indicting him in the Western District of

Texas. As part of the plea agreement in this case, the Government promised not to

bring any other prosecution against Mr. Cuff “for any offense known to the United

States Attorney’s Office, based on the investigation which form the basis of the

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Second Superseding Indictment.” Docket 387 at 1-2. Unbeknownst to the

defendant, however, the Government obtained a secret Indictment in the Western

District of Texas. Although there is a split of authority on whether the promise of

the United States Attorney’s Office in the Western District of Louisiana bound all

such offices throughout the United States including the Western District of Texas,

there can be no question that Cuff reasonably expected that the plea agreement

protected him from a prosecution in the Western District.

      In its opinion the Court held that it would not reach the merits of this claim

because, according to the Court, Cuff could not show “cause and prejudice” for

failing to raise the claim on direct appeal. Op. at 7-8. The Court acknowledges that

a declaration from trial counsel Karns states that Karns was unaware of the

indictment in the Western District of Texas, but the Court holds that that appellate

counsel should have presented the declaration to the court of appeals. Op. at 8.

      The Court should reconsider its decision because Cuff does have cause for

not raising the issue of breach of the plea bargain on appeal. Preliminarily, it is

clear that the claim could not be raised in the district court because none of the

parties were aware that the breach had occurred. For this reasons, no evidence of

such a breach was introduced in the district court. It is true that by the time of the

direct appeal, appellate counsel was aware of the Texas indictment; however, the

court of appeals reviews errors only “based on the record before the district court.”

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United States v. Ceron, 775 F.3d 222, 226 (5th Cir. 2014). A party cannot introduce

evidence in the court of appeals that was not first raised in the district court. See

Galbraith v. United States, 313 F.3d 1001, 1007 (7th Cir. 2002) (“[a] reviewing

court on direct appeal is limited to the record of trial and cannot consider any

extrinsic evidence.”).

       This is analogous to the claim of ineffective assistance of counsel. These

claims are raised in collateral proceedings so extrinsic evidence can be introduced.

See United States v. Pierce, 959 F.2d 1297, 1301 (5th Cir. 1992)( “[t]he general rule

in this circuit is that a claim of ineffective assistance of counsel cannot be resolved

on direct appeal when the claim has not been raised before the district court since

no opportunity existed to develop the record on the merits of the allegations.”).

Thus, Cuff’s appellate counsel on direct review justifiably did not raise breach of

the plea agreement on appeal because there were no facts in the record of the

district court to support the claim.

       Delatorre v. United States, 847 F.3d 837, 844 (7th Cir. 2017), is instructive.

In that case the defendant sought to raise prosecutorial misconduct in a 2255

motion. The court rejected this claim. It reasoned that the prosecutorial-misconduct

claim did not by its very nature require augmentation of the record. The court

observed that “the only reason extrinsic evidence is required to prove his claim is

because he failed to raise this claim in the district court in the first place.” It

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reasoned further that “had he raised this claim at the proper time—in the district

court before he was convicted—his evidence supporting that claim would have

been in the trial record and could have been considered on direct appeal.” Thus the

court concluded that his prosecutorial-misconduct claim was “not akin to an

ineffective-assistance-of-counsel claim in this regard.” The court reasoned that

because Delatorre “has provided no plausible “cause” for his failure to raise his

prosecutorial-misconduct claim before collateral review,” the court would not reach

the issue.

      Here, unlike in Delatorre, Cuff could not raise the claim in the district court

because at the time he was unaware that the breach had occurred. Thus Cuff has

shown good cause for failing to raise the issue on direct appeal. Moreover, the

prejudice from his failure to do so is likewise clear: He is prejudiced in having lost

the opportunity to obtain a ruling on the merits of the claim. Accordingly, the

court should alter amend its judgement with respect to this issue.

   E. THE COURT SHOULD ALTER OR AMEND ITS JUDGEMENT
   WITH RESPECT TO WHETHER IT WILL GRANT A CERTIFICATE
   OF APPEALABILITY.

      In its opinion the Court denied a certificate of appealability (“COA”),

holding that Cuff had failed to demonstrate a substantial showing of the denial of a

constitutional right. Op. at 18. The Court should alter or amend its judgement with

respect to this issue. The Supreme Court has counseled that “a court of appeals

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should not decline the application for a COA merely because it believes the

applicant will not demonstrate an entitlement to relief.” Miller-El v. Cockrell, 537

U.S. 322, 337 (2003).

      In Slack v. McDaniel, 529 U.S. 473, 479, (2000), the Court declared that a

COA should issue if “jurists of reason would find it debatable whether the petition

states a valid claim of the denial of a constitutional right.” In Miller-El, the Court

further clarified that a habeas petitioner need not “prove, before the issuance of a

COA, that some jurists would grant the petition for habeas corpus” and that “a

claim can be debatable even though every jurist of reason might agree, after the

COA has been granted and the case has received full consideration, that petitioner

will not prevail.” 537 U.S. at 338. Just recently the Supreme Court emphasized

that “a claim can be debatable even though every jurist of reason might agree, after

the COA has been granted and the case has received full consideration, that

petitioner will not prevail.” Buck v. Davis, 137 S.Ct. 759, 774 (2017). Thus, the

standard for obtaining a COA is not a particularly exacting one. See Jefferson v.

Welborn, 222 F.3d 286, 289 (7th Cir.2000) (stating that a COA should issue unless

the claims are “utterly without merit”).

      The issues raised in the 2255 motion and in the Rule 59(e) motion are not

frivolous and do raise questions about which reasonable jurists could differ. Even

assuming, arguendo, that Court denies the Rule 59 (e) motion with respect to the

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other issues, the Court at the very least should alter or amend its judgment with

respect to the granting of a COA.



                                    CONCLUSION

      For the reasons set forth above, the Court should reconsider or alter its

judgment and should vacate Cuff’s plea and sentence. Alternatively, the Court

should grant a COA.


                                               Respectfully Submitted:


                                               /s/Michael R. Levine
                                               Michael R. Levine




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                         CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that on April 9, 2018, I caused to be

served this Memorandum by ECF to which all parties subscribe.


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Attorney for Robert Cuff


                 IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                         SHREVEPORT DIVISION


UNITED STATES OF AMERICA,
                                             No. 5:11-CR-00062-SMH-MLH-21
            Plaintiff,
      vs.                                    Judge HICKS

                                             Magistrate Judge HORNSBY
ROBERT CUFF, aka Slapolot, dd0040

            Defendant.




    SUPPLEMENTAL MEMORANDUM IN SUPPORT OF RULE 59 (E)
           MOTION TO ALTER OR AMEND JUDGMENT




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      In his previously filed motion under Rule 59 (e) and memorandum in support

(Docs 760, 763), the defendant asked the Court to reconsider its opinion of March

12, 2018 (Doc 756), in several respects and to grant the Section 2255 motion. By

this supplemental memorandum, counsel requests that, at the very least, the Court

grant an evidentiary hearing on the claims, as was requested in the Prayer for Relief

section of the 2255 motion (Doc. 734) at page 24, lines 9-13.

      Under applicable law, a Section 2255 motion “can be denied without a

hearing only if the motion, files, and records of the case conclusively show that the

prisoner is entitled to no relief.” United States v. Reed, 719 F.3d 369, 373 (5th Cir.

2013) (quoting United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir.1992));

accord Friedman v. United States, 588 F.2d 1010, 1014-15 (5th Cir.1979); see also

28 U.S.C. § 2255 (2017).

      In addition, the defendant supplements the memorandum with the attached

Exhibits 17-21 provided to counsel by Jacqueline Seibert, the defendant’s sister.

According to Ms. Seibert:


      (1) Exhibit 17 is a partial list of errors committed by trial attorney Stephen

Karns;

         (2) Exhibits 18, 19, and 20 contain e-mail exchanges between Ms. Seibert

and United Nations representative Juan Mendez discussing the beatings and

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mistreatment that Mr. Cuff was experiencing while imprisoned.

      (3) Exhibit 21 is an e-mail exchange between Ms. Seibert and attorney

Sheppard regarding Sheppard’s failure to come into the case as attorney for Cuff

although he had promised to do so. This course of conduct was referenced in the

original memorandum at page 19, albeit with a mistaken citation to Exhibit 16,

instead of the correct exhibit, attached here as Exhibit 21.

                                               Respectfully Submitted:

                                               /s/Michael R. Levine
                                               Michael R. Levine




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                         CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that on April 11, 2018, I caused to be

served this Supplemental Memorandum and Exhibits by ECF to which all parties

subscribe.


                                      /s/ Michael R. Levine
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                          CRIMINAL ACTION NO. 11-00062-21

  VERSUS                                            JUDGE S. MAURICE HICKS, JR.

  ROBERT CUFF                                       MAGISTRATE JUDGE HORNSBY

                                            ORDER
         Before the Court is Defendant, Robert Cuff’s (“Cuff”) Motion to Alter or Amend the

  Judgment (Record Document 760) filed on April, 9, 2018. For the following reasons, Cuff’s

  Motion is DENIED.

         Altering or amending a judgment is considered “an extraordinary measure, which

  courts should use sparingly.” In the Matter of Self, 172 F.Supp.2d 813, 816 (W.D.La.2001)

  (citing 11 Charles A. Wright, Arthur R. Miller, & Mary Kay Kane, Federal Practice and

  Procedure § 2810.1). Generally, a motion to alter or amend a judgment, filed under Rule

  59(e) may be granted: “(1) to correct manifest errors of law or fact upon which judgment

  is based; (2) the availability of new evidence; (3) the need to prevent manifest injustice;

  or (4) an intervening change in controlling law. Id. at 816.

         Nothing asserted in Cuff’s Motion moves the Court to alter or amend its prior

  judgment. Cuff continues to make the same claims asserted in his federal habeas corpus

  petition.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 12th day of April, 2018.
Case 5:11-cr-00062-SMH-MLH Document 774 Filed 06/01/18 Page 1 of 2 PageID #: 4329
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     Admitted pro hac vice

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION

                                                USDC No. 5:11-CR-00062-21
      UNITED STATES OF AMERICA,
                    Plaintiff-Appellee,
                                                NOTICE OF APPEAL
            vs.


      ROBERT CUFF,

                  Defendant-Appellant.


           The defendant, Robert Cuff, through his attorney Michael R. Levine,

     hereby APPEALS to the Fifth Circuit Court of Appeals from the order of

     the Honorable S. Maurice Hicks entered on March 12, 2018, which denied

     Cuff’s motion under 28 U.S.C. § 2255 to vacate his conviction and sentence,

     and from Judge Hicks’s order of April 12, 2018, which denied Cuff’s Rule

     59 (e) motion to alter or amend the judgment

                                          s/s Michael R. Levine
                                              Michael R. Levine
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                         CERTIFICATE OF SERVICE


     I certify that on the date set forth below, I served the Notice of Appeal on the

     United States Attorney’s Office for the Western District of Louisiana via

     ECF and by e-mail as follows: Camille.Domingue@usdoj.gov



     Dated: June 1, 2018                           /s/ Michael R. Levine
                                                     Michael R. Levine
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             IN THE UNITED STATES COURT OF APPEALS

                             FOR THE FIFTH CIRCUIT


UNITED STATES OF AMERICA,

             Plaintiff-Appellee,              C.A. No. 18-30694
       vs.


ROBERT CUFF                                   DC 5:11-CR-00062-21
                                              (W.D. Louisiana)
             Defendant-Appellant.




             MOTION FOR CERTIFICATE OF APPEALABILTY

      Appellant Robert Cuff, through his attorney Michael R. Levine, has filed a

Notice of Appeal from the orders and judgments of the district court entered on

March 12, 2018 and April 12, 2018, which respectively denied Cuff’s motion

under 28 U.S.C. § 2255 to vacate his conviction and his motion under Rule 59 (e)

of the Federal Rules of Civil Procedure to reconsider. The district court has denied

a Certificate of Appealabilty with respect to the first order.

      Mr. Cuff now moves this Court to issue a Certificate of Appealabilty with

respect to each of the following issues:

      A. Whether the government breached the plea agreement;
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      B. Whether trial counsel was ineffective in not adequately investigating
      Mr. Cuff’s mental condition and viable defenses before advising him to
      plead guilty;

      C. Whether trial counsel was ineffective in not moving for a competency
      hearing before sentencing; and

      D. Whether the trial court abused its discretion in denying the Rule 59 (e)
      motion to reconsider its opinion denying the 2255 motion.

      This motion is based on records of the case and the brief in support of the

motion which will be filed shortly.

                                      Respectfully Submitted

                                      /s/Michael R. Levine
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                          CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that I caused to be served the above

Motion for a Certificate of Appealability by ECF in the Western District of

Louisiana. All parties are signed on to this service.

                                       /s/ Michael R. Levine
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           IN THE UNITED STATES COURT OF APPEALS

                        FOR THE FIFTH CIRCUIT



UNITED STATES OF AMERICA,
                                               C.A. No. 18-30694
           Plaintiff-Appellee,
     vs.
                                               DC 5:11-CR-00062-21
                                               (W.D. Louisiana)
ROBERT CUFF,

           Defendant-Appellant.




       BRIEF IN SUPPORT OF MOTION FOR CERTIFICATE OF

                                 APPEALABILTY




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I. STATEMENT OF THE CASE

A. Introduction

      Pursuant to a plea agreement in case United States v. Cuff, 5:11-CR-

00062-21, Robert Cuff, a Navy veteran, pleaded guilty in the Western

District of Louisiana to engaging in a child exploitation enterprise (CEE), in

connection with an internet file-sharing website. Cuff shared child

pornography with other members of the website. During this time, Cuff was

also being investigated in the Western District of Texas for sexual abuse of a

child, stemming from videos found on his computer portraying such conduct.

Cuff and his lawyer, Stephen Karns, understood the Louisiana plea

agreement to promise that Cuff would not be prosecuted in Texas for the

criminal conduct displayed in the videos, but that the conduct would be used

in the Louisiana sentencing proceeding. However, notwithstanding the plea

agreement, two weeks after the Louisiana plea and unbeknownst to Cuff and

his attorney, Cuff was secretly indicted in the Western District of Texas in

United States v. Cuff, 11-CR-03016-KC, for possession of child pornography

and for sexual contact with a minor, the very conduct displayed in the videos.

ROA.18-30694.260-264.

      During the Louisiana guilty plea colloquy, Cuff’s statements to the

district court judge were strange and illogical at times. The trial court


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expressed concern about Cuff’s mental state, but not his competence. After

the plea, but before sentencing, several highly experienced mental health

professionals concluded that Cuff very likely suffered brain damage from his

past use of the anti-malarial drug mefloquine, a drug he had been ordered to

take during his military service. Based on the conclusions of the mental

health professionals, Cuff, represented by a new attorney, moved to withdraw

his plea. That motion was denied, and the district court sentenced him to life

imprisonment. His direct appeal was denied by this Court.

      Cuff then filed a motion pursuant to 28 U.S.C. § 2255 alleging the

government had breached the plea agreement by charging him in Texas. He

also alleged that Karns was ineffective in not adequately investigating his

mental state and possible mental defenses before advising him to plead

guilty. Cuff also alleged Karns was ineffective in not moving for a

competency hearing before sentencing. More than three years after the

Section 2255 motion was filed, the district court denied the motion and

denied a Certificate of Appealability (COA). The court also denied a

subsequent motion to alter the judgment made pursuant to Rule 59 of the

Federal Rules of Civil Procedure. Cuff filed a timely notice of appeal to this

Court from the district court’s denial of the motions. Cuff now asks the

Court to grant a COA on each of the issues set forth herein.


                                       2
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B. Procedural history.

      In 2011, investigators in the Western District of Louisiana determined

that Cuff was uploading and exchanging child pornography with others in an

internet pornography ring. While conducting a search of Cuff’s house

pursuant to a warrant, law enforcement officers in the Western District of

Texas seized a computer containing multiple video files. The files included

videos of Cuff sexually abusing a five-year-old girl, the daughter of a woman

with whom Cuff had been involved.

       1. The Louisiana indictment.

      On August 10, 2011, a federal grand jury in the Western District of

Louisiana returned a superseding indictment charging Cuff with one count of

engaging in a child exploitation enterprise, in violation of 18 U.S.C.

§2252A(g) (Count 1), one count of conspiracy to advertise the distribution of

child pornography in violation of 18 U.S.C. §§ 2251(d)(1) and (e) (Count 2),

and one count of conspiracy to distribute child pornography in violation of 18

U.S.C. §§ 2252A(a)(2)(A) and (b)(1) (Count 3). ROA.18-30694.77-91.

      On October 17, 2011, and October 27, 2011, on defendant’s motion,

the district court entered orders permitting mental health professionals to

interview Cuff to evaluate his mental status. ROA.18-30694.116.117. The


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government was represented in the Western District of Louisiana by

Assistant United States Attorney Luke Walker, and in the Western District of

Texas by Assistant United States Attorney Brandy Gardes. Cuff, represented

by Karns, understood from AUSA Walker and AUSA Gardes that if Cuff

pleaded guilty in the Western District of Louisiana, there would be no

prosecution in the Western District of Texas. ROA.18-30694.256-258. Karns

and Cuff understood, however, that AUSA Walker in Louisiana would use

the video tapes recovered in Texas in the Louisiana sentencing. Id. The

prosecutors advised Karns of this resolution because they hoped to avoid

having the girl in the video testify at a Texas trial. ROA.18-30694.256.

      2. The Louisiana guilty plea and the Texas indictment.

       On December 1, 2011, Cuff pleaded guilty to the CEE crime in

 violation of 18 U.S.C. § 2252A (g). ROA.18-30694.856-885. The plea

 agreement expressly provided that if Cuff fulfilled his obligations under

 the agreement, then “the Government agree[s] to dismiss the remaining

 counts of the superseding indictment after sentencing and it will not

 prosecute the defendant for any other offense known to the United States

 Attorney’s Office, based on investigation which forms the basis of the

 Second Superseding Indictment.” ROA. 18-30694.976-977.

      Karns and Cuff understood the agreement to confirm that Cuff


                                      4
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would not be prosecuted in the Western District of Texas. However,

unbeknownst to Karns and Cuff, and notwithstanding the plea agreement,

two weeks later on December 14, 2011, a federal grand jury in the Western

District of Texas returned a sealed indictment in Case No. 11-CR-3016 on

several counts of possession of child pornography and one count charging,

sexual abuse of the five year-old girl, which conduct was depicted on the

video filed found on Cuff’s computer. ROA.18-30694.260-264.

      On the same day the indictment was returned, the government

moved the Texas district court to seal the indictment on the purported

ground that “disclosure of the indictment would seriously jeopardize the

ability of law enforcement officers to locate and apprehend him.”

ROA.18-30694.265. The Texas district court ordered the indictment sealed

the same day. ROA.18-30694.266.

      3. The presentence report.

      On July 25, 2012, the final presentence investigation report (PSR) was

issued. ROA.18-30694.997-1013. The PSR calculated a total offense level of

43, reflecting a five-level increase pursuant to U.S.S.G. §§ 4B1.5(b)(1)

because the defendant “engaged in a pattern of activity involving prohibited

sexual conduct,” namely the sexual abuse of the five-year old child, which

was displayed on video files found on the defendant’s computer. ROA.18-


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30694.1004. The PSR stated that the government had no evidence that these

video files were ever uploaded to the internet but incorrectly noted that

“presently, no charges are pending against the defendant as a result of this

behavior.” PSR ¶ 22. ROA. 18-30694.1002. Cuff’s total offense level of 43

and his Criminal History Category of I correlated to an advisory range of life

in prison. No objections to the PSR were filed by any party. Sentencing was

ultimately set for July 13, 2012.

     4. The mental health evaluations, diagnosis of mefloquine intoxication,
and Cuff’s seizure while incarcerated.

      On May 10, 2012, two months before sentencing, at defense request,

Dr. Remington Nevin examined Cuff’s medical history, communicated by

telephone with Cuff, and with members of his family. Dr Nevin had a post-

doctoral fellowship at John Hopkins University, was Board Certified in

Preventive Medicine, and is an expert on the connection between the use of

mefloquine and resulting brain damage. See Resume at ROA.18-30694.684-

698. He has published much research resulting from clinical examinations of

military and civilian personnel experiencing the effects of mefloquine. See

e.g. Ritchie, Block, Nevin, Psychiatric Side Effects of Mefloquine, J. Am.

Academy Psychiatry Law 41:224-35 (2013). ROA.18-30694.645-656. See

also Nevin and Ritchie, The Mefloquine Intoxication Syndrome, (Springer

International Publishing 2015). ROA.18.30694.662-683.

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      Dr. Nevin prepared a comprehensive report with respect to his

conclusions regarding mefloquine’s deleterious effect on Mr. Cuff. ROA.18-

30694.1224-1226, 566. Dr. Nevin related that Cuff reported symptoms of

“abnormal dreams, anxiety, and paranoid reactions” as well as “profound

short-term memory loss.” ROA.18-30694.1225. Although Dr. Nevin did not

physically examine Cuff, he concluded that Cuff’s personality changes and

symptoms were “consistent with possible late neurotoxic effects of limbic

encephalopathy caused by repeated mefloquine intoxication,” resulting from

Cuff’s use of the anti-malarial drug while in the military. ROA.18-

30694.567, 1225. Dr. Nevin explained that mefloquine intoxication has been

associated with “a morbid fascination with violence and violent objects,

aggression, increased impulsivity, and sexual inhibition.” Id. (emphasis

added). In a subsequent affidavit filed on July 12, 2012, Dr. Nevin observed

that the areas of the brain that effect sexual deviancy “include the thalamus

and the hypothalamus [and that each area] is likely affected by mefloquine,

based on signs and symptoms observed in cases known to me.” ROA.18-

30694.170-171.

      About May 18, 2012, Cuff was found unresponsive in his cell after

complaining the prior evening of a headache. ROA.18-30694.563. He was

taken to LSU Health Center where he was admitted with a diagnosis of


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“altered level of consciousness and altered mental status, with a Glasgow

Coma Scale of 3.” Id. In Dr. Nevin’s opinion, Cuff’s symptoms were

“highly suspicious for a deep brain or brainstem seizure” and provided

“further support for the diagnosis of neurotoxic injury from his earlier use of

mefloquine.” Id. Dr. Nevin reviewed additional records and concluded that

they “further substantiate[d] the assessment” that Cuff likely “suffered a deep

brain or limbic seizure related to neurotoxicity from his early use of

mefloquine,” and that his condition was “chronic and unstable.” Id.

      Dr. Robert Stanulis is a highly experienced forensic psychologist and

neuropsychologist. For sixteen years he was the chief neuropsychologist at

the Oregon Comprehensive Epilepsy and Surgery program. ROA.18-

30694.1214. In that capacity, he evaluated many individuals before, during,

and after neurosurgery. Id. Dr. Stanulis has extensive experience and

knowledge about the role of limbic structures in behavior “including the

impact of limbic dysfunction on seizure disorders, perseverative obsessive

behavior, aggression, and sexual behavior.” Id.

      Dr. Stanulis examined Cuff over two days and concluded that Cuff’s

criminal behavior was “to a reasonable degree of medical and psychological

certainty caused by and the direct result of the adverse side-effects of the

mefloquine he was ordered to take in the military.” ROA.18.30694.1213. In


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his opinion Mr. Cuff’s criminal behavior was “but a part of the profound

neuropsychological and neurobehavioral changes resulting from disinhibition

caused by the limbic encephalopathy diagnosed by Dr. Nevin.”

ROA.18.30694.1217.

5. Karns’ sentencing memorandum.

        On June 29, 2012, Karns filed a sentencing memorandum with an

incorporated motion for downward departure. ROA.18-30694.1122-1151.

He urged the district court to impose a sentence of not more than 20 years.

Karns attached the psychological reports of Dr. Nevin, Dr. Stanulis, Dr.

Vigen, and Dr. William Brown.

        Karns also attached letters attesting to Cuff’s exemplary work record

while serving in the United States Navy. The exhibits showed Cuff was a

retired sailor who served in the Navy for more than 28 years. He rose to the

rank of Command Master Chief and received numerous medals and awards,

including the Iraq Campaign Medal with Star, the Meritorious Unit Service

Medal, the Navy/Marine Corps Commendation Medal, the Global War on

Terrorism Expeditionary Medal, the Global War on Terrorism Service

Medal, and the Joint Service Commendation Medal. ROA.18-30694.1123-

1124.




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        6. Schweitzer’s motions to substitute counsel and withdraw the guilty
plea.

        On July 5, 2012, shortly before the scheduled sentencing hearing,

Cuff’s family retained attorney Eric H. Schweitzer, who filed a motion to

substitute in as counsel to replace Karns. ROA.18-30694.134. In his motion

Schweitzer asserted that Cuff suffered from brain damage from the use of

mefloquine that might well constitute a defense to the charges. ROA.18-

30694.135-136. He asserted that Karns was incapable of providing Cuff with

competent legal advice in that regard. ROA.18-30694.137. In addition to his

motion, Schweitzer attached a draft motion to withdraw Cuff’s guilty plea.

ROA.18-30694.143-159. Schweitzer also requested a further continuance of

the sentencing proceedings.

        On July 10, 2012, the district court denied Schweitzer’s motion to

substitute counsel but permitted him to act as co-counsel. The court also

denied the request for a further continuance. ROA18-30694.167-168.

        On July 12, 2012, the day before the sentencing hearing, Schweitzer

filed the motion to withdraw Cuff’s guilty plea. ROA.18-30694.174-182. The

government opposed the motion in a response filed the next day. ROA.18-

30694.183-187. In the motion, Schweitzer asserted that the plea had been

entered without Cuff or Karns knowing or having investigated the defenses

available to Cuff to the accusations made against him. Schweitzer asserted

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that according to Doctors Nevin and Stanulis, Cuff suffered from brain

damage arising from his use of the anti-malarial drug mefloquine, which he

had been ordered to take while in the military. Schweitzer stated that

mefloquine has well known deleterious, psychiatric side effects. Schweitzer

argued that Cuff had defenses available of diminished capacity and insanity.

      In support of his motion, Schweitzer presented the district court with a

widely publicized CBS news report regarding mefloquine’s side effects:

      Last summer, four soldiers from Ft. Bragg were accused of
      killing their wives. Two of the men committed suicide, and the
      other two await trial…One possible suspect was mefloquine -
      brand name Lariam, an anti-malarial drug. It was invented by
      the U.S. Army and is routinely given to soldiers deployed
      overseas. In scientific terms, Lariam can cause neuropsychiatric
      adverse events. In plain language, it can make lose your
      mind….

David Kohn, the Dark Side of Lariam,
http://www.cbsnews.com/2100-500164_162-538144.html
(2009).

ROA.18-30694.176.

      Pointing to the evaluations of Dr. Nevin and Dr. Stanulis, Schweitzer

argued that when Cuff took mefloquine around 1993, the drug damaged his

brain, rendering him incapable of controlling unnatural urges. ROA. 18-

30694.176. Schweitzer moved to withdraw the plea and for a trial before the

judge alone, at which time the defense of insanity would be raised. ROA.18-

30694.181-182.

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7. The sentencing hearing.

      On July 13, 2012, the district court conducted a sentencing hearing

during which it also considered the motion to withdraw the guilty plea. In

essence, the court found that the conclusions of Dr. Nevin and Dr. Stanulis

about the effects of mefloquine on Cuff’s mental state were “more cutting-

edge theory than . . . accepted fact.” ROA.18-30694.893. The court reasoned

that Cuff carried out his job in the military with competence, but the sexual

assault displayed on the video showed a criminal personality.

      The court denied the motion to withdraw the plea. The court also

denied the motion for downward departure and sentenced Cuff to life in

prison. ROA.18-30694.193-195 (judgment).

       8. The direct appeal.

      On August 7, 2013, in an unpublished memorandum decision, this

Court affirmed the defendant’s conviction and sentence. United States v.

Cuff, 538 Fed.Appx. 411. ROA.18-30694.213-217. The Court rejected

Cuff’s claim that his plea was not entered knowingly and intelligently

reasoning as follows:

      The record reflects that, at the time of the re-arraignment, Cuff
      was regarded by his supervisors and peers as high functioning,
      his demeanor was not unusual, and no medical opinions bearing
      on competency had been presented. During the plea colloquy,
      Cuff responded to questions appropriately with no indication of
      mental deficiencies. There is no reason to believe that Cuff did

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      not comprehend and could not participate in the criminal
      proceedings.

Id. at 413; ROA.18-30694.214, 215.

      On appeal Cuff raised the issue of prosecutorial misconduct with

respect to the “the secret Texas prosecution” and claimed that this

prosecution prevented him from entering a constitutionally valid guilty plea.

The Court did not address the claim, stating that Mr. Cuff did not develop

facts supporting the claim on appeal. Id. On December 9, 2013, the United

States Supreme Court denied Cuff’s petition for a writ of certiorari. ROA.18-

30694.219.

      9. The motion pursuant to 28 USC § 2255.

      On December 6, 2014, represented by attorney Steven Hormel, Cuff

moved to vacate his conviction and sentence pursuant to 28 USC. § 2255.

ROA.18-30694.237, 324. Among other things, Cuff raised the following

claims: (1) The government breached its promise in the plea agreement not to

prosecute Cuff for another offense; (2) Attorney Karns was ineffective for

failing to move for a competency review before the sentencing under 18

U.S.C. § 4241; and (3) Attorney Karns was ineffective for failing to

investigate mental defenses of insanity or involuntary intoxication before

advising Cuff to plead guilty.




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      In connection with the claim of breach of the plea agreement, Cuff

introduced the declaration of Karns. ROA.18-30694.255-259. The

declaration, dated December 3, 2014, was obtained after conclusion of the

direct appeal. In his declaration Karns stated that he understood from the

Assistant United States Attorneys in Louisiana and Texas that Cuff would

only be prosecuted in Louisiana, not in Texas, although the videos seized in

Texas would be used in the sentencing proceedings in Louisiana.

      Karns “learned from AUSA Gardes that the State of Texas would not

be prosecuting Mr. Cuff.” ROA.18-30694.256. This would avoid having to

have the young girl testify at a trial. Id. Karns so advised Cuff. Karns

declared that his advice to Cuff to enter the guilty plea was predicated on the

understanding that if he pleaded guilty in Louisiana case, Texas would not

prosecute him. ROA.18-30694.257. Karns declared he was unaware of the

Texas indictment (which had been filed under seal). He said that had he been

informed of its existence, he would have advised Cuff not to plead guilty in

Louisiana. ROA.18-30694.255. Karns declared that in filing the Texas

indictment, “the government breached the plea agreement with Cuff.” ROA.

ROA.18-30694.258. Karns declared that because of his failure to advise Cuff

of the Texas indictment, Cuff’s plea of guilty was not knowingly and

intelligently entered and should, therefore, be vacated. ROA.18-30694.258.


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Karns further declared that had he learned of the indictment before the

sentencing, he would have moved the district court to vacate the guilty plea.

Id.

        On February 18, 2015, in the Western District of Texas, after receiving

reports from the BOP that Cuff was not mentally competent to proceed,

Judge Kathleen Cardone dismissed the Texas indictment on motion of the

government. Appendix 1. Pursuant to Fed.R.Ev. 201(c), the court is requested

to take judicial notice of the dismissal.

        On March 12, 2018, after having the matter under submission for more

than three years, the district court in Louisiana denied Cuff’s motion to

vacate his conviction in a written opinion. ROA.18-30694.425-442. The

court also denied a COA, holding that Cuff had failed to demonstrate a

substantial showing of the denial of a constitutional right. ROA.18-

30694.442. The court addressed the 2255 petition as follows:

        First, the court did not reach the merits of the claim that the

government breached the plea agreement. The court said the claim was

procedurally barred because Cuff had failed to show cause for his failure to

raise the claim on direct appeal. The court stated that appellate counsel

should have obtained Karns’s declaration “at the time he filed his Notice of

Appeal.” ROA.18-30694.431.


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      Second, the court denied the claim that Karns was ineffective in failing

to move for a competency hearing before Cuff entered his guilty plea or

before sentencing. The court pointed to the plea colloquy and to the

statements of Cuff, Karns and the U.S. Attorney that Cuff was competent.

ROA.18-30694.435.

      Third, the court denied the claim that Karns was ineffective in advising

Cuff to plead guilty because he failed to investigate mental defenses such as

insanity, involuntary intoxication, and diminished capacity. The court said,

“The decision not to pursue the insanity defense was strategic in the hopes of

getting Cuff the best possible deal.” ROA.18-30694.436. The court stated

further that “Karns had the opportunity to examine Cuff’s medical

evaluations and chose not to pursue a mental defense. Karns’ actions are

entitled to heavy deference.” Id.

      The court remarked that Cuff’s actions, specifically with the five-year

old girl, were not “connected to insanity” but rather were “connected to a

very cold, calculating purposeful defendant.” The court concluded further

that Karns was not ineffective in failing to further investigate Cuff’s potential

mental defenses “because such defenses would not have been viable.” ROA.

18-30694.438.




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      10. The filing of the Rule 59 motion

      Cuff then retained undersigned counsel Michael R. Levine, who filed a

motion to alter or amend the judgement under FRCP 59(e). ROA.18-

30694.453. The motion was supported with a memorandum and numerous

exhibits. ROA.18-30694.486-797. The district court denied that motion on

April 12, 2018. ROA.18-30694.798. The court reasoned, “Nothing asserted

in Cuff’s Motion moves the Court to alter or amend its prior judgment. Cuff

continues to make the same claims asserted in his federal habeas corpus

petition.” Id. Cuff filed a timely notice of appeal from the denial of both the

Section 2255 motion and the Rule 59(e) motion on June 1, 2018. ROA.18-

30694.817.

II. SUMMARY OF ARGUMENTS

      A. The Court should grant a COA on the first issue of whether the

government breached the plea agreement. Contrary to the opinion of the

district court, Cuff has established “cause” for failure to raise the issue on

direct appeal because he was unaware of the Texas indictment until after the

proceedings in the district court were completed and therefore could not

make the appropriate record in that court. He could not introduce new

evidence or a new issue for the first time on appeal.




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      On the merits, the government breached the promise in the Louisiana

plea agreement that the government would not bring any charges in Texas.

Moreover, the government secretly indicted Cuff in Texas and misled the

judge there to seal the indictment to keep Cuff from learning of its existence.

Because reasonable jurists could debate whether the government breached

the plea agreement, Cuff has met the threshold for issuance of a COA.

      B. The Court should grant a COA on the second issue of whether trial

counsel was ineffective in inadequately investigating Cuff’s mental condition

and mental defenses before advising him to plead guilty. Cuff’s attorney

Karns only began an adequate investigation after Cuff pleaded guilty.     Only

then did he learn that while in the military Cuff had been exposed to the anti-

malarial drug mefloquine, well-known for its serious neuropsychiatric effects

including sexual disinhibition. Only then did Karns learn from Dr. Nevin

and Dr. Stanulis that because of the brain-damaging effects of mefloquine,

Cuff had viable mental defenses to the charges. Because reasonable jurists

could debate whether Karns adequately investigated Cuff’s mental health and

possible mental defenses, Cuff has met the threshold for issuance of a COA.

      C. The Court should grant a COA on the third issue of whether trial

counsel was ineffective in failing to move for a competency hearing before

sentencing. Cuff’s sometimes strange and incoherent statements at the plea


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hearing, his assertion that he had PTSD but “believed” it was not affecting

him, and the reports of Dr. Nevin, Dr. Stanulis and other psychologists and

psychiatrists regarding brain damage caused by mefloquine strongly

suggested that there was a competency issue even before entry of the plea

much less before sentencing. Because reasonable jurists could debate whether

Karns was ineffective in failing to move for a competency hearing before

sentencing, Cuff has met the threshold for issuance of a COA.

      D. The Court should grant a COA on the fourth issue of whether the

trial court abused its discretion in denying the Rule 59 motion to reconsider

its opinion denying the 28 USC § 2255 motion. Cuff presented several

significant pieces of new evidence to the district court that should have

caused the court to reconsider its opinion. For example, Cuff presented a

Health Services Report from the Bureau of Prisons dated January 9, 2018,

observing that Cuff suffered from “mefloquine brain disorder.” In addition,

Cuff presented new evidence that the U.S. and U.K. militaries have ceased or

limited use of mefloquine due to its deleterious neuropsychiatric effects. Cuff

also introduced several scientific studies regarding the deleterious

neuropsychiatric symptoms in military members who used mefloquine.

Because reasonable jurors could debate whether the district court abused its




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discretion in denying the Rule 59 motion, Cuff has met the threshold for

issuance of a COA.

III. ARGUMENTS

   A. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
   WHETHER THE GOVERNMENT BREACHED THE PLEA
   AGREEMENT.

      It is well-settled law that if a guilty plea “rests in any significant degree

on a promise or agreement of the prosecutor, so that it can be said to be part

of the inducement or consideration, such promise must be fulfilled.”

Santobello v. New York, 404 U.S. 257, 262 (1971). This Court has held that

the government “must strictly adhere to the terms and conditions of its

promises.” United States v. Harper, 643 F.3d 135, 139 (5th Cir. 2011). Plea

agreements are “strictly construed against the Government as the drafter.”

United States v. Elashyi, 554 F.3d 480, 501 (5th Cir. 2008).

      It is equally well-settled that a guilty plea based on a breached plea

agreement “is subject to collateral attack under § 2255.” United States v.

Cates, 952 F.2d 149, 151–52 (5thCir. 1992). See also United States v.

Borders, 992 F.2d 563, 566 (5th Cir. 1993) (“A defendant may collaterally

attack his guilty plea on the grounds of an alleged violation of the plea

agreement.”). Whether the government’s conduct violated the terms of the




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plea agreement “is a question of law.” United States v. Palomo, 998 F.2d

253, 256 (5th Cir. 1993) (quotation omitted).

      The plea agreement at issue here provides, in pertinent part, that “[i]f

the Defendant completely fulfills all of his obligations and agreements under

this plea agreement, the Government agrees to dismiss the remaining Counts

of the Second Superseding Indictment after sentencing and it will not

prosecute the Defendant for any other offense known to the United States

Attorney’s Office, based on the investigation which forms the basis of the

Second Superseding Indictment.” ROA.18-30694.976-977. (emphasis added).

Unbeknownst to Cuff and his counsel, however, the Government obtained a

secret Indictment in the Western District of Texas that charged possession of

pornography and sex abuse of the child, the video of which conduct was

found on Cuff’s computer and which conduct enhanced his Louisiana

sentence. The government’s action breached the plea agreement.

      1. Cuff has established “cause” for failure to raise the issue on direct
appeal.

      When raising issues of jurisdictional or constitutional magnitude for

the first time on collateral review, “a defendant ordinarily must show both

cause for his procedural default and actual prejudice resulting from the

error.” United States v. Gaudet, 81 F.3d 585, 589 (5th Cir. 1996). In its

opinion denying relief, the district court held that it would not reach the

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merits of this claim because Cuff could not show “cause and prejudice” for

failing to raise the claim on direct appeal. ROA.18-30694.431-432. The

court acknowledged that Karns stated in his declaration that he was unaware

of the indictment in Texas and that had he been, he would never have advised

Cuff to plead guilty; however, the court held that appellate counsel should

have presented the declaration to the Court of Appeals. ROA.18-30694.432.

      Contrary to the district court’s holding, Cuff had good cause for not

raising the issue of breach of the plea bargain on appeal: he had nothing in

the record of the district court on which to base the appeal. As this Court

noted in its memorandum decision denying the appeal with respect to another

issue, “[a]lthough Cuff complains of prosecutorial misconduct, he did not

develop the facts supporting this claim, so we are not able to review it on

appeal.” ROA.18-30694.217.

      The claim of breach of the plea agreement could not be raised in the

district court because at the time neither Cuff not his attorney Karns was

aware that the breach had occurred. ROA.18-30694.255-259. It is true that

by the time of the direct appeal, appellate counsel was aware of the Texas

indictment; however, the court of appeals reviews errors only “based on the

record before the district court.” United States v. Ceron, 775 F.3d 222, 226

(5th Cir. 2014). This Court “may not consider new evidence furnished for


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the first time on appeal and may not consider facts which were not before the

district court at the time of the challenged ruling.” Theriot v. Parish of

Jefferson, 185 F.3d 477, 491 n.26 (5th Cir. 1999). See also Galbraith v.

United States, 313 F.3d 1001, 1007 (7th Cir. 2002) (“[a] reviewing court on

direct appeal is limited to the record of trial and cannot consider any extrinsic

evidence.”). The district court incorrectly stated that “Cuff was aware of the

Texas indictment at the time of his appeal and could have established facts in

order for the Fifth Circuit to review the present claim.” ROA.18-30694.432.

(emphasis added). This is not the case because an appellant cannot introduce

new facts for the first time on appeal; the record must be developed in the

district court.

       In sum, Cuff has shown good cause for failing to raise the issue on

direct appeal. Moreover, the prejudice from his failure to do so is likewise

clear: he has lost the opportunity to obtain a ruling from the district court on

the merits of the claim.

2. The government breached the agreement.

       Although a defendant bears the burden of proving the underlying facts

establishing a breach by a preponderance of the evidence, the Court construes

a plea agreement “like a contract, seeking to determine the defendant’s

reasonable understanding of the agreement and construing ambiguity against


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the Government.” United States v. Escobedo, 757 F.3d 229, 233 (5th Cir.

2014). Here, there can be no question that Cuff reasonably expected that the

plea agreement protected him from a prosecution in the Western District of

Texas for sexual assault of the child because he agreed the conduct would be

used to enhance his sentence in Louisiana. Karns’s declaration makes clear

that he confirmed this with both AUSA Walker and AUSA Gardes. ROA.18-

30694.256. This made sense because, as Karns was told, the Texas

prosecutor wanted to avoid a trial if possible in Texas where the young girl

would have to testify.

      The government argued in the district court that the Louisiana case and

the Texas case were not based on the same investigation and not related

because the Louisiana indictment dealt with child pornography, while the

Texas indictment dealt with child molestation. ROA18.30694.385. This

argument is specious. The government introduced the conduct underlying the

child molestation charges in Texas into the sentencing for the Louisiana

pornography crimes and obtained a five-level increase in the offense level

because of the molestation. Therefore, the Texas offenses were, in the words

of the plea agreement, “known to the United States Attorney’s Office” and

were based at least in part “on the investigation which forms the basis of the

Second Superseding Indictment.”


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         Pointing to language in the agreement that refers specifically “to the

United States Attorney’s Office” the government argued below that this

language bound only the U.S. Attorney in the Western District of Louisiana,

and not also the Western District of Texas, Id., but the record refutes this

claim.

         First, the agreement specifically uses the terms, “the Government” and

“United States” strongly implying that the whole government is bound.

ROA.18-30694.975-977, 980.

         Second, the Government did not limit that non-prosecution clause to

those offenses that could have been charged in the indictment, but agreed not

to prosecute Mr. Cuff for any offense known by the United States Attorney’s

Office based on the investigation which formed the basis of the Second

Superseding Indictment. The Louisiana prosecutor has never claimed (nor

could he) that he lacked knowledge of the videos that formed the potential

charges in Texas at the time he sought the Second Superseding Indictment.

         Third, nothing in the agreement states that it binds only the U.S.

Attorney in Louisiana. The government certainly knows how to insert such a

clause if it wants to. See, e.g., United States v. Al-Arian, 514 F.3d 1184,

1193 (11th Cir. 2008) (“The plea agreement expressly binds only the United

States Attorney’s Office for the Middle District of Florida and the


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Counterterrorism Section of the Department of Justice.”); United States v.

Tovar-Valencia, 2011 WL 6749051, at *2 (S.D.Tex. 2011) (“This Plea

Agreement binds only the United States Attorney’s Office for the Southern

District of Texas and the Defendant; it does not bind any other United States

Attorney.”); United States v. Hartwell, 302 F.Supp.2d 609, 618 (E.D.Va.

2004) (“Except where specifically noted, this plea agreement binds only the

United States Attorney's Office for the Eastern District of Virginia and the

defendant; it does not bind any other prosecutor in any other jurisdiction.”).

      This Court rejected similar arguments made by the government in

Elashyi, supra, 554 F.3d 480. In that case defendant Ishan and his brothers

were convicted of illegally exporting computer equipment to Libya and

Syria, among other crimes. Defendant Ishan argued his prosecution violated

a plea agreement he reached in an earlier case with his company called

Tetrabal. This Court agreed. In the earlier case, Ishan pled guilty to a single

count of making an unlawful shipment. In return, the Government agreed it

would not “seek, refer or prosecute any further criminal charges against him

arising out of the facts and circumstances known by the government at this

time surrounding his involvement in the crimes addressed in the superseding

indictment.” Id. at 500.




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      In Elashyi, the government’s plea agreement used language very

similar to that here. In rejecting the government’s argument that no breach

occurred, this Court reasoned that “the Government clearly knew at the time

of the plea offer about ‘facts and circumstances’ of the Libyan and Syrian

shipments that form the basis of the current prosecution. There is no question

that the present prosecution ‘arise [s] out of’ those shipments.” 554 F.3d at

500. This Court went on to hold that “the language of the plea agreement in

this case unambiguously extends to all crimes arising out of the conduct

alleged in the Tetrabal indictment, including shipments to Libya and Syria

that give rise to Ishan’s convictions in the present case.” Id. at 500–02.

      Furthermore, although this Court has apparently never decided the

question, see United States v. Cantu, 185 F.3d 298, 305 n.11 (5th Cir. 1999),

most other circuits hold that the promise of one U.S. Attorney binds other

U.S. Attorneys in different districts. E.g., United States v. Gebbie, 294 F.3d

540, 550 (3d Cir. 2002) (“[W]hen a United States Attorney negotiates and

contracts on behalf of ‘the United States’ or ‘the Government’ in a plea

agreement for specific crimes, that attorney speaks for and binds all of his or

her fellow United States Attorneys with respect to those same crimes and

those same defendants.”); United States v. Van Thournout, 100 F.3d 590, 594

(8th Cir. 1996) (holding that absent express limitation, any promises made by


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an Assistant United States Attorney in one district will bind an Assistant

United States Attorney in another district); United States v. Randolph, 230

F.3d 243, 249–51 (6th Cir. 2000) (when defendant pled guilty in Texas,

reasonably believing that plea agreement prohibited prosecution in

Tennessee, due process required reversal of conviction); United States v.

Harvey, 791 F.2d 294, 296 n.1 (4th Cir. 1986) (reference to “the Eastern

District of Virginia” in the plea agreement was ambiguous given that most of

the plea agreement referred to “the United States,” and construing the

ambiguity against the Government, holding “that [the plea agreement] must

be interpreted to prevent further prosecutions for such offenses anywhere and

by any agency of Government”). But see United States v. Annabi, 771 F.2d

670, 672 (2d Cir. 1985) (holding that “[a] plea agreement binds only the

office of the United States Attorney for the district in which the plea is

entered unless it affirmatively appears that the agreement contemplates a

broader restriction”).

       3. The government misled the federal judge in Texas when it moved to
seal the Texas indictment.

      The Government not only kept that fact of the Texas indictment from

Mr. Cuff and his counsel prior to the plea hearing in Louisiana, it did so by

misleading the Texas judge into sealing the Texas Indictment. In its motion

to seal the indictment, the Texas U.S. Attorney told the judge that the

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“disclosure of the existence of the [Texas] Indictment would seriously

jeopardize the ability of law enforcement to locate the Defendant and

apprehend him without incident.” ROA.18-30694.265.

      The government’s reason for sealing the indictment was purely

pretextual because the government well knew Cuff had been in federal

custody since July 2011 when he was arrested and detained in federal

district court in Texas and extradited to Louisiana. ROA.18-30694.32-34.

Indeed, On January 9, 2012, the government filed the Texas detainer on his

place of confinement in Louisiana. ROA.18-30694.321. The misleading of

the Texas judge to keep the Texas indictment hidden from the Cuff and his

lawyer was serious misconduct.

4. The breach of the plea agreement and the government’s misconduct
justifies vacating the guilty plea.

      The breach of the plea agreement justifies vacating Cuff’s plea of

guilty for three reasons:

      First, vacating the guilty plea is an appropriate remedy for breach of a

plea agreement. Santobello, 404 U.S. at 263 (specific performance or

withdrawing guilty plea appropriate remedy). That the Texas indictment was

dismissed on the government’s motion in 2015 because the BOP doctors

concluded that Cuff was incompetent does not matter. See id. (whether



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breach of bargain affected judge is irrelevant; case remanded to determine if

specific performance or withdrawal of plea proper remedy). Cf. United

States v. Taylor, 77 F.3d 368, 371 (11th Cir. 1996) (irrelevant that

government’s breach may not have influenced the sentencing judge); United

States v. Grandinetti, 564 F.2d 723, 726–27 (5th Cir. 1977) (“The question of

the effect on the district court of the prosecutor’s noncompliance with the

plea bargain was thus deemed irrelevant.”).

      Second, because the Texas indictment was obtained secretly and in

violation of the plea agreement and without Mr. Cuff’s knowledge before he

pleaded guilty, the government deprived Cuff and his counsel of the

knowledge of all the facts necessary to make an intelligent, knowing, and

voluntary plea. As such, the plea should be voided. See Bousley v. United

States, 523 U.S. 614, 618 (1998) (“A plea of guilty is constitutionally valid

only to the extent it is voluntary and intelligent.”).

      Third, the secretive manner in which the Texas indictment was

obtained prevented trial counsel Karns from rendering effective assistance of

counsel. Moreover, it manifestly demonstrates prosecutorial misconduct. Cf.

Berger v. United States, 295 U.S. 78, 88 (1935) (although the government

“may strike hard blows, [it] is not at liberty to strike foul ones.”); United

States v. McPhee, 731 F.2d 1150, 1152 (5thCir. 1984) (same). Secretly filing


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the Texas indictment and misleading the Texas judge to seal the indictment

and keep the knowledge of its existence from Cuff was a “foul blow”

warranting vacating of the Louisiana guilty plea.

        In sum, Cuff’s plea to the Louisiana indictment was induced in large

part by the understanding that he would not be prosecuted in Texas. The

government breached the agreement and committed misconduct by

misleading the Texas judge to keep knowledge of the Texas indictment from

Cuff. Therefore, Cuff should be permitted to withdraw his plea of guilty. See

Taylor, 77 F.3d at 372 (although court of appeals has choice of remedy, in

circumstances here, where government breached agreement, defendant

permitted to withdraw plea). As this Court has stated:

        It is in the best interests of the government, as well as the
        system as a whole, that defendants be able to count on the
        government keeping the promises it makes in order to secure
        guilty pleas. Those broader interests, as well as each individual
        defendant’s interest in receiving the benefit of his bargain,
        require that courts stand ready and willing to hold the
        government to its promises.

Id.

        4. Cuff has met the threshold for issuance of a COA.

       Even if this Court believes that Cuff will ultimately not prevail on

appeal with respect to this issue, the Court should still issue a COA because

the standard for issuance of a COA is only whether “jurists of reason would


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find it debatable whether the petition states a valid claim of the denial of a

constitutional right.” Slack v. McDaniel, 529 U.S. 473, 479 (2000); see Buck

v. Davis, 137 S.Ct. 759, 773 (2017) (reversing this Court’s misapplication of

the COA standard, stating “The COA inquiry, we have emphasized, is not

coextensive with a merits analysis. At the COA stage, the only question is

whether the applicant has shown that jurists of reason could disagree with the

district court's resolution of his constitutional claims or that jurists could

conclude the issues presented are adequate to deserve encouragement to

proceed further.”) (citations omitted).

      Furthermore, “a claim can be debatable even though every jurist of

reason might agree, after the COA has been granted and the case has received

full consideration, that petitioner will not prevail.” Miller-El v. Cockrell, 537

U.S. 322, 338 (2003). In sum, even assuming, arguendo, that this Court were

to ultimately deny the appeal on the merits, the Court should still grant the

COA on this issue.


B. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
WHETHER TRIAL COUNSEL WAS INEFFECTIVE IN NOT
ADEQUATELY INVESTIGATING CUFF’S MENTAL CONDITION
AND MENTAL DEFENSES BEFORE ADVISING HIM TO PLEAD
GUILTY.

      “Before deciding whether to plead guilty, a defendant is entitled to the

effective assistance of competent counsel.” Padilla v. Kentucky, 559 U.S.

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356, 364 (2010). To be effective, “counsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular

investigations unnecessary.” Strickland v. Washington, 466 U.S. 668, 691

(1984).

      Before advising a defendant that a guilty plea is the best defense

strategy, the defense attorney must first adequately investigate the facts

including the defendant’s mental status and possible mental defenses. See

Diaz v. Martin, 718 F.2d 1372, 1378 (5th Cir. 1983) (before advising a

defendant to plead guilty, “[i]t is essential that counsel be familiar with the

facts and the law, including potential defenses, so that he can fully advise the

defendant of options available to him.”); United States v. Edwards, 488 F.2d

1154, 1163 (5th Cir. 1974) (“This court has long recognized a particularly

critical interrelation between expert psychiatric assistance and minimally

effective representation of counsel.”). .

      Failing to reasonably investigate the facts and circumstances of a

defendant’s psychological health and mental state before formulating a

defense strategy can rise to the level of ineffective assistance. See Escamilla

v. Stephens, 749 F.3d 380, 392 (5th Cir. 2014) (“if a purportedly tactical

decision is not preceded by a reasonable investigation, then it is not

sufficiently informed and not entitled to the deference typically afforded


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counsel’s choices”); Weeden v. Johnson, 854 F.3d 1063 (9th Cir. 2017) (trial

counsel ineffective in failing to investigate psychological evidence about

effect of petitioner’s mental state before formulating defense strategy).

      Attorney Karns did not conduct the necessary investigation into Cuff’s

mental state and history with mefloquine before advising him to plead guilty.

Only after Cuff entered his guilty plea on March 5, 2012, did Karns learn that

Cuff had taken mefloquine during his military service, a powerful anti-

malarial drug that can cause irreparable brain damage. ROA.18-30694.1073.

at ¶12. Only after the guilty plea did Karns move ex-parte for authorization

to hire a psychologist and other experts to conduct testing on Cuff “to

diagnose mental and brain disorders from which Mr. Cuff suffers as a result

of exposure to traumatic combat events and exposure to medications known

to cause adverse psychiatric effects including depression and psychosis.”

ROA.18-30694.1072. at ¶5.

      Only on May 10, 2012, well after the plea of guilty, did Dr. Remington

Nevin determine that Cuff’s symptoms were consistent with the deleterious

effects of mefloquine. ROA.18-30694.1224-1226. Only after entry of the

guilty plea did Karns learn that Dr. Nevin diagnosed Cuff as suffering from

“limbic encephalopathy caused by use of mefloquine,” a condition whose

symptoms can be bizarre, unusual, and cause criminal conduct. ROA.18-


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3094.1098. at ¶7.

      Only after entry of the guilty plea did Dr. Nevin evaluate the records

related to Cuff and determine that he likely “suffered a deep brain or limbic

seizure” related to neurotoxicity from his early use of mefloquine, and that

his condition was “chronic and unstable.” ROA.18-30694.1328. Only after

entry of the guilty plea did Karns learn that both Dr. Nevin and Dr. Stanulis

concurred that “Mr. Cuff’s changes in sexual disinhibition and behavior are

to a reasonable degree of medical certainty the result of mefloquine

encephalopathy and neurotoxicity.” ROA.18-30694.1214-1218, 1326. Only

after entry of the guilty plea did Karns learn that Dr. Stanulis concluded that

“Mr. Cuff’s illegal behavior is the result of the adverse reaction to the

mefloquine he was ordered to take in a combat zone” and that in his opinion,

“this fact did not emerge until after Mr. Cuff’s pleas, and was not factored

into either his charges or potential defenses.” Id.

      Karns failure to do the investigation into Cuff’s mental status before

advising Cuff to plead guilty and his failure to learn about the Cuff’s use of

mefloquine and the brain damage associated with that use before advising

Cuff to plead guilty was ineffective assistance.

       In denying the Section 2255 motion, the district court stated that

Karns’s decision not to pursue a mental defense such as an insanity or


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diminished capacity defense “was strategic in the hopes of getting Cuff the

best possible deal.” ROA.18-30694.436. But an attorney’s decision cannot

be strategic if he has not uncovered the relevant facts that underlie the

decision. See e.g., Escamilla, supra, 749 F.3d at 392; Anderson v. Johnson,

338 F.3d 382, 392 (5th Cir. 2003) ( “counsel can hardly be said to have made

a strategic choice against pursuing a certain line of investigation when [he]

has not yet obtained the facts on which such a decision could be made.”).

        Moreover, the district court’s assertion is merely the court’s ipse dixit.

Nothing in the record supports the trial judge’s bald conclusion. There is no

declaration or testimony from Karns or any other person asserting that Karns’

decision was strategic. There was no evidentiary hearing. It is well-settled

that findings and conclusions of the district court are clearly erroneous if not

supported by the record. See, e.g., Cook v. U.S. Atty. Gen., 488 F.2d 667, 672

(5th Cir. 1973) (“This finding will not withstand the modest scrutiny required

by the clearly erroneous rule since it is simply not supported by the record.”).

The record supports the conclusion that Karns’s failure was not a product of

strategy, but a product of a failure to investigate, of negligence, and of

deficient performance.

      It may be that this Court will ultimately deny the appeal on the merits

of this issue. However, because reasonable jurists could differ on whether


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Karns adequately investigated Cuff’s prior use of mefloquine, the effects of

that use on Cuff’s mental state and his competence to plead guilty, and

whether there were available mental defenses, this Court should issue a COA.

      C. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
      WHETHER TRIAL COUNSEL WAS INEFFECTIVE IN NOT
      MOVING FOR A COMPETENCY HEARING BEFORE
      SENTENCING.

      To be legally competent the defendant must have “the capacity to

understand the nature and object of the proceedings against him, to consult

with counsel, and to assist in preparing his defense.” Drope v. Missouri, 420

U.S. 162, 171 (1975). Trial counsel has a duty to reasonably investigate any

competency issues related to his or her client, and failure to do so may rise to

the level of ineffective assistance. See Bouchillon v. Collins, 907 F.2d 589,

597 (5th Cir. 1990).

      Upon reviewing the reports of Dr. Nevin and Dr. Stanulis, and because

of certain incoherent statement made by Cuff at the plea hearing, Karns

should have moved for a competency hearing under 18 U.S.C. § 4241 before

entry of the guilty plea and, at the very least, before sentencing took place.

See Bouchillon, 907 F.2d at 597 (trial counsel ineffective in failing to

investigate client’s competence). Furthermore, the district court had a sua

sponte duty to call for such a hearing. See Mata v. Johnson, 210 F.3d 324,

330 (5th Cir. 2000) (court “must conduct an inquiry into the defendant’s

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mental capacity, either sua sponte or in response to a motion by petitioner’s

counsel, if the evidence raises a bona fide doubt as to his competency.”).

      1. Cuff’s strange and incoherent statements at the plea hearing and his
      assertion that he had PTSD but “believed” it was not affecting him
      were red flags strongly suggesting there was an issue with competence
      even at that stage of the proceeding.

      At a chambers conference before the entry of the plea, Karns alerted

the district court to the problems with Cuff’s mental status. ROA.18-

30694.884. At the time that Cuff entered his plea of guilty, the district court

asked him if he had medical problems in the past. He responded somewhat

strangely and incoherently: “I was told I did, but I was helped out of the

questioning [sic]. When you leave a war zone, they – the corpsman would

help me do the paperwork so I wouldn't fail it. [sic].” ROA.18-30694.861.

This strange and illogical answer is indicative of a thought disorder or mental

disturbance of some kind. The district court then asked Cuff if he suffered

from post-traumatic stress syndrome, and he responded, “I was told I did

since Somalia, Your Honor.” Id. The court then asked whether Cuff had

recovered from the PTSD, and Mr. Cuff responded, “No, Your Honor.”

ROA.18-30694.861-862. The Court then asked Cuff whether he was being

actively treated for the PTSD, and he responded that he was just starting

treatment. ROA.18-30694.862. Finally, the Court asked Cuff if was on any

kind of medication, and he responded he was not. Id.

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      Cuff’s illogical and strange answers and his statement that he had not

recovered from PTSD, should have raised a question for both trial counsel

and the district court as to whether Cuff was competent to plead, much less to

be sentenced. Indeed, the district court recognized a problem with Cuff’s

mental state because later in the plea colloquy, the court stated:

      In discussions held off the record before we convened today, I
      am concerned over not a mental competency issue, I’m
      concerned over a mental status issue, and I have provided
      counsel with the name of a local Ph.D. psychologist, clinical
      psychologist, who can conduct that. I am concerned that he
      may need to be on medication -- I don’t know the answer to
      that.

ROA.18-30694.884. It is difficult to understand how one can be concerned

about Cuff’s “mental status” yet not be concerned about his mental

competence.

      It is true that in its memorandum decision on direct appeal, this Court

stated that during the plea colloquy Cuff responded to questions appropriately

with no indication of mental deficiencies. ROA.18-30694.214-215. In so

finding, the Court overlooked the incoherent answers Cuff gave to the trial

judge. In any event, the issue here concerns Cuff’s competence to be

sentenced, which this Court did not address. As shown below, Cuff’s mental

health deteriorated substantially in the eight months between the time of the

plea and the time of sentencing.


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      At the plea colloquy Cuff told the trial court he was suffering from

PTSD and had not recovered from that disorder. PTSD is a serious mental

illness arising from experiencing, witnessing, or hearing about traumatic

events. “PTSD is not uncommon among veterans returning from combat.”

Porter v. McCollum, 558 U.S. 30, 36 (2009). Symptoms include “behaving

recklessly or in a self-destructive way.” Diagnostic and Statistical Manual of

Mental Disorders (DSM-V) (criterion E for PTSD). They also include

“having problems concentrating, experiencing events as if one were an

outside observer of or detached from oneself (e.g., feeling as if ‘this is not

happening to me’ or one were in a dream),” or experiencing events as

“unreality, distance, or distortion (e.g., ‘things are not real’).” Id. PTSD can

be “a grave affliction.” United States v. Cantu, 12 F.3d 1506, 1513 (9th Cir.

1993). The symptoms of PTSD can seriously impair a defendant’s ability to

understand legal proceedings and assist his attorney.

      2. The reports of Drs. Nevin and Stanulis with respect to brain damage
      caused by mefloquine raised serious questions as to Cuff’s competence
      to be sentenced.

      On May 10, 2012, two months before sentencing, Dr. Nevin examined

Mr. Cuff’s medical history and consulted with him by phone. Dr. Nevin

concluded that Cuff’s personality changes, profound impairment in short-

term memory, abnormal dreams, and anxiety and paranoid reactions were


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“consistent with possible late neurotoxic effects of limbic encephalopathy

caused by repeated mefloquine intoxication.” ROA.18-30694.567,1225. Dr.

Nevin observed that mefloquine intoxication has been associated with “a

morbid fascination with violence and violent objects, aggression, increased

impulsivity, and sexual inhibition.” Id.

      On about May 18, 2012, Mr. Cuff was found unresponsive after

complaining the evening before of a headache. Id. at 33. He was taken to

LSU Health Sciences Center where he was admitted with a diagnosis of

“altered level of consciousness and altered mental status, with a Glasgow

Coma Scale of 3.” Id. In Dr. Nevin’s opinion, Cuff’s symptoms were

“highly suspicious for a deep brain or brainstem seizure” and provided

“further support for the diagnosis of neurotoxic injury from his earlier use of

mefloquine.” Id. Dr. Nevin reviewed additional records and concluded that

they “further substantiate the assessment” that Cuff likely “suffered a deep

brain or limbic seizure related to neurotoxicity from his early use of

mefloquine,” and that his condition was “chronic and unstable.” Id.

      At the sentencing hearing on July 13, 2012, attorney Schweitzer

presented the reports of Dr. Nevin and Dr. Stanulis opining that Cuff suffered

from encephalopathy (brain damage) from his early use of mefloquine, and




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that such damage contributed to his criminal conduct. These reports were red

flags on the issue of Cuff’s competence to be sentenced.

3. Highly qualified and experienced mental health experts believe that before
sentencing Cuff’s deteriorating mental health required a competency
evaluation and hearing.

      The mental health experts who examined Cuff before and after his

sentencing were of the view that trial counsel should have sought a

competency determination before Cuff was sentenced.

      Dr. William Brown, Ph.D., was retained to do a sociological evaluation

of Cuff for sentencing. He had significant experience working cases

involving competency of criminal defendants. ROA.18-30694.1553-1557.

During his interviews of Cuff, he found that Cuff frequently acted in an

“irrational manner.” ROA.18-30694.1556. Dr. Brown shared his concerns

with Karns and with Dr. Stanulis. Id. In Dr. Brown’s opinion, “Mr. Cuff’s

competency should have been questioned by trial counsel based on his

interactions with Mr. Cuff and his family in January 2012, and based on all

the information known about Mr. Cuff prior to his sentencing.” ROA.18-

30694.1557.

     On December 6, 2014, Dr. Stanulis filed a declaration respecting his

opinion on Cuff’s competency to be sentenced. ROA.18-30694.1575-1579.

He declared that during his interviews of Cuff, he found him to be “slow to


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respond, distractible and at times irrational.” ROA.18-30694.1576. Dr.

Stanulis observed Cuff’s “irrational thinking in his interactions” with Karns.

Id. In his opinion Cuff’s mental condition was “severely impaired” before

sentencing took place. ROA.18-30694.1578. Dr Stanulis reviewed a letter

of April 4, 2014 from BOP psychiatrist, Dr. Herbel, in which Dr. Herbel

found Cuff incompetent to proceed in the Texas case. ROA.18-30694. 579.

Dr. Stanulis concluded that Cuff‘s “impaired mental condition was present to

a severe and incapacitating degree and that it rendered him incompetent” in

the proceedings before Judge Hicks. Id. Dr. Stanulis declared that in his

opinion Mr. Cuff’s competency should have been investigated before the

guilty plea hearing but in any event “at a minimum… before Mr. Cuff was

sentenced.” ROA.18-30694.1579. This is particularly true, declared Dr.

Stanulis, in light of Cuff’s “hospitalization at LSU.” Id.

      Dr. Susan J. Fiester, received her M.D. from the Yale School of

Medicine and is Board Certified in by the American Board of Psychiatry and

Neurology. ROA.18-30694.1604-1617. She was the expert forensic

psychiatrist who examined and evaluated Mr. Cuff on behalf of the defense

in the Texas prosecution. She submitted an eighteen-page affidavit that

reviewed Mr. Cuff’s mental condition and summarized the findings of the




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many psychological, psychiatric, and social history reports. ROA.18-

30694.1586-1603.

      Dr. Fiester reported that examinations near the time of Cuff's

sentencing showed the following symptoms and dysfunction which,

considered together, should have raised serious questions about his

competency to be sentenced: depression and psychomotor retardation,

impairment in judgment and insight, short-term memory problems, difficulty

with concentration, difficulty following multiple conversations, difficulty

with Intellectual processing, difficulty assembling his thoughts,

depersonalization and global paranoia. ROA.18-30694.1602.

      According to Dr. Fiester, Cuff also suffered many physical symptoms,

including: severe headaches and dizziness (that had previously interfered

with his expert evaluations) and sleep problems, leading to sleep deprivation

and fatigue) that may have significantly interfered with memory and the

cognitive and intellectual functions essential to competency. ROA.18-

30694.1602.

      Dr. Fiester reported that the reports of Dr. Byron Herbel supported her

opinion that Cuff’s mental condition continued to deteriorate as predicted by

other experts. Dr. Herbel is Cuff’s treating psychiatrist at Butner Federal

Medical Center and is the Bureau of Prisons' expert retained to oversee and


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treat Mr. Cuff’s mental condition for the Western District of Texas

prosecution. Id.

       It is Dr. Fiester’s professional opinion to a degree of reasonable

medical certainty, that “based on the evidence of Mr. Cuff’s worsening

mental state and extensive evidence of his overall deteriorated condition prior

to the July 2012 sentencing that defense counsel should have arranged for a

forensic psychiatric expert evaluation of Mr. Cuff to determine if he was

competent for sentencing.” ROA.18-30649.1603.

      Tellingly, because of Cuff’s incompetence to proceed, on February 17,

2015, the AUSA in the Western District of Texas moved to dismiss the Texas

indictment, and Judge Kathleen Cardone granted the motion. Appendix 1.

This supports the conclusion that Cuff’s mental status was progressively

worsening and that his competence should have been evaluated before

sentence was imposed.

      6. Cuff’s attorney on direct appeal reported contemporaneous to the
         sentencing hearing that Cuff’s mental health had deteriorated.

      On August 17 and 18, 2012, Mr. Cuff was visited by his counsel

representing him on direct appeal, Herbert Larson, Jr., and Sara Johnson.

ROA.18-30694.1618. Mr. Larson and Ms. Johnson observed Mr. Cuff to

have “a very ‘flat’ affect; this is, he did not respond with emotion to anything

that [his counsel] said; nor did he express any emotion with regard to any

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matters that he was discussing, even though some of these matters were . . .

highly charged emotionally.” Id. Cuff complained to counsel of nightly

nightmares and daydreams, and “could not always distinguish the difference

between what was real and what was imagined.” Cuff “was ‘having problems

with reality.” ROA.18-30694.1619. These observations by Mr. Larson and

Ms. Johnson, made just over a month after the sentencing hearing on July 13,

2012, add support to Dr. Stanulis’s and Dr. Fiester’s opinions that a

competency hearing should have been sought by trial counsel before the

sentencing hearing.

      5. Cuff’s statement at the guilty plea hearing that he did not believe he
      had a mental illness is not dispositive.

      In its opinion denying the Section 2255 motion, the district court relied

upon Cuff’s response at the plea colloquy that he did “not believe” that he

had a mental health problem that would limit his ability to understand what

was happening. Cuff’s statement is hardly a definitive statement of

competency. Moreover, the failure of certain mentally ill persons to

recognize their illness or the effect it is having is a well-known syndrome

called Anosognosia. In the words of one court, it is “the failure to appreciate

one’s own illness.” Struck v. Cook County Public Guardian, 901 N.E.2d

946, 948 (Ill. App. 2008). Anosognosia is a common consequence of brain

injuries. “A person grappling with a serious mental illness…cannot be

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assumed to have a reliable understanding of his faculties.” See Anderson v.

United States, 865 F.3d 914, 920 (7th Cir. 2017) (when defendant suffering

from multiple mental illnesses responded “as good as I can” to court’s

question whether he understood what was happening, his reply acknowledged

“some inability to think clearly and participate in the proceedings”). .

      In its opinion the district court relied on the principle that statements in

“open court during a plea hearing carry a strong presumption of verity.”

United States v. Martinez-Molina, 64 F.3d 719, 733 (5th Cir. 1995) (citing

Blackledge v. Allison, 431 U.S. 63, 74 (1977)). While this principle is true in

general, it applies with much less force in the case of a person who suffers

from a mental illness. See, e.g., Anderson, 865 F.3d at 920 (“Anderson’s

belief about the effects of his medication is inadequate assurance that he was

capable of entering a plea: A person grappling with a serious mental illness

or under the influence of psychotropic drugs cannot be assumed to have a

reliable understanding of his faculties.”).

      Additionally, Cuff’s mental health was deteriorating between the time

of the plea and the time of sentencing. Thus, Cuff’s statement about his

competence at the time of plea hearing is not determinative of his

competence at sentencing, which occurred about eight months later.




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      6. Mr. Karns’ opinion of Cuff’s competence is not dispositive.

      In finding that Cuff was competent to be sentenced, the district court

relied on the opinion of trial counsel Karns at the time of the plea that Cuff

was competent to proceed. This reasoning is flawed because Karns’ opinion

as to Cuff’s mental state at the time of the plea is not dispositive of Cuff’s

mental state at the time of the plea much less at the time of sentencing eight

months later.

      Furthermore, while it is true that in the usual case trial counsel’s

opinion as to his client’s mental state appropriately carries great weight, the

law is clear that lawyers have no special ability to diagnose mental illnesses

and their effects on their clients’ mental state. See Bouchillon, 907 F.2d at

593–94 (“the state court, in reviewing Bouchillon's petition, relied almost

exclusively on the evidence of Bouchillon’s demeanor at the plea proceeding

and the testimony of his trial counsel to hold that he was competent . . . [T]he

existence of even a severe psychiatric defect is not always apparent to laymen

. . . . One need not be catatonic, raving or frothing, to be [legally

incompetent.]”) (citations omitted); Maxwell v. Roe, 606 F.3d 561, 574 (9th

Cir. 2010) (“[A]lthough we acknowledge that defense counsel will often have

the best-informed view of the defendant’s ability to participate in his defense,

we have recognized that counsel is not a trained mental health professional


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and his failure to raise petitioner’s competence does not establish that

petitioner was competent.”) (citations omitted). Therefore, Karns’ opinion at

the time of the guilty plea is not dispositive of Cuff’s mental state at that

time, much less at the time of sentencing.

        In sum, given Cuff’s worsening mental state between the plea and the

sentencing, Karns should have moved for competency hearing before the

court imposed a sentence. His failure to do so was ineffective assistance.

Ultimately, it may be that this Court will deny the appeal on the merits of this

issue. However, because reasonable jurists could differ on whether Karns

should have requested a competency hearing before sentence was imposed,

this Court should issue a COA.

D. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
WHETHER THE TRIAL COURT’S ABUSED ITS DISCRETION IN
DENYING THE RULE 59 MOTION.1

      Fed. R. Civ. P. 59 (e) grants the court the power to alter or amend its

judgment. A motion under this rule “serves the narrow purpose of allowing a

party to correct manifest errors of law or fact or to present newly discovered

evidence.” Waltman v. International Paper Co., 875 F.2d 468, 473 (5th Cir.

1989) (emphasis added). The district court has broad discretion with respect



1
 Cuff is not certain whether a COA is necessary to appeal the denial of this motion, but he
seeks one in an abundance of caution.

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to granting this motion, but “reconsideration of a judgment after its entry is

an extraordinary remedy that should be used sparingly.” Id. at 479. In

exercising its discretion, “a district court must strike the proper balance

between the need for finality and the need to render just decisions on the

basis of all the facts.” Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995).

      Cuff’s Rule 59 motion was based on new evidence that was not before

the district court when the court denied the 2255 motion. At the sentencing

hearing on July 13, 2012, attorney Schweitzer presented the reports of Drs.

Nevin and Stanulis concluding that Cuff suffered from limbic

encephalopathy (brain damage) from his early use of mefloquine, and that

such damage contributed to his criminal conduct. The district court disagreed

with and was highly skeptical of these conclusions. See ROA.18-30694.890.

lines: 10-11 (“I realize you say it’s unquestionably. I question that myself

with respect to those conclusions [of Dr. Nevin].”); ROA.18-30694.891.

(“Nor does it mean that I have to accept [Dr. Nevin’s conclusion] on its face,

as an expert opinion.”).

      The district court was of the view that the conclusion of Drs. Nevin

and Stanulis respecting the effects of mefloqine were “more cutting-edge

theory than . . . accepted fact.” ROA.18-30694.893. The court went on to

say, “On its face, [the conclusion of Dr. Nevin] does not meet a Daubert


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standard, in the Court’s opinion. The Court finds that this is a cutting-edge

issue and is by no means accepted fact.” Id. ROA.18-30694.919(that Cuff

has encephalopathy “is a theory, supposition. The perseveration is consistent

with but is not diagnosed as encephalopathy.”).

      In his Rule 59 motion, Cuff asked the court to reconsider its skepticism

of the conclusions of Dr. Nevin and Dr. Stanulis in light of the new exhibits

and new evidence presented in the motion. This evidence was discovered

after April 4, 2014, the date the 2255 motion was filed and had not been seen

by the district court. The court denied the Rule 59 motion saying, in essence,

that Cuff had presented nothing new. In so holding the district court failed to

adequately consider the following items of new evidence presented in the

Rule 59 motion and, therefore, abused its discretion.

      1. The Bureau of Prisons health report by Dr. Vynedra Smith
      diagnosing Cuff with mefloqine brain disorder.

      Cuff presented a Health Services Report from the Bureau of Prisons

(Exhibit 12 to the Rule 59 motion). ROA.18-30694.699-732. The report

noted that as of January 9, 2018, Dr. Vynedra Smith diagnosed Cuff as

suffering, among other illnesses from “mefloquine brain disorder.” ROA.18-

30694.710 (emphasis added). ROA.18-30694.719. Cuff was also diagnosed

as suffering from non-Hodgkin’s “stage IV diffuse large B cell lymphoma,” a

type of blood cancer. ROA.18-30694.710.

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      Dr. Smith’s conclusion that Cuff suffered from “Mefloquine brain

disorder,” was significant new evidence that confirmed the conclusions of

Drs. Nevin and Stanulis that at the time of his criminal conduct, Cuff was

suffering from a brain disorder caused by use of mefloquine. This evidence

should have substantially undermined the district court’s skepticism and

conclusions in its judgment denying the Section 2255 motion.

      2. New evidence of brain damage caused by antimalarial drug
      mefloquine regarding members of the U.K. military.

      Cuff introduced an article by Ashley Croft published November 12,

2015, in the Pharmaceutical Journal, Mefloquine, Madness, and the Ministry

of Defence (Exhibit 6 to Rule 59 motion). ROA.18.30694.638-643. The

article argued that the “overwhelming evidence about the dangers of long-

term use of mefloquine leaves the UK Ministry of Defense little excuse to

continue giving this drug.” ROA.18.30694.638. Evidence that the United

Kingdom was being advised to discontinue the use of mefloquine was

significant new evidence not previously presented to the district court. The

evidence also confirmed the conclusions of Dr. Nevin and Dr. Stanulis with

respect to the deleterious effects of mefloquine.




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      3. New evidence of a scientific study regarding neuropsychiatric
      symptoms in military members and the change in the military’s
      position regarding mefloquine.

      Cuff presented a study published on June 8, 2016 by Livezy, Oliver, &

Cantilena, Prolonged Neuropsychiatric Symptoms in a Military Service

Member Exposed to Mefloquine (Exhibit 1 to Rule 59 motion). ROA.18-

30694.513-518. This study presented new evidence to the district court that

“Due to the increasing awareness of these neuropsychiatric side effects, the

United States military relegated mefloquine to a third-line medication behind

doxycycline and Malarone (atovaquone-proguanil) for prophylaxis in areas of

chloroquine-resistant malaria, such as Afghanistan. Consequently, from

2008 to 2013, the use of mefloquine in the military has decreased

dramatically.” Id. at 516. The study emphasized that “[m]efloquine-induced

neuropsychiatric symptoms can be severely life debilitating [and] Mefloquine

toxicity can persist for several years after exposure has been discontinued,

with little to no abatement in symptoms over time.” Id.

      This significant new evidence was not seen before by the district court.

The evidence also confirmed the conclusions of Dr. Nevin and Dr .Stanulis

that Cuff may well have suffered from brain damage related to the effects of

mefloquine.




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      4. New evidence of mental health disorders connected to the use of
      mefloquine.

      Cuff presented and article published 2015 from Academy of

Psychosomatic Medicine, Depersonalization/Derealization Disorder after

Exposure to Mefloquine (Exhibit 2 to Rule 59 motion). ROA.18-30694.526-

530. Authored by Doctors Katherine McEvoy, Blair Anton, and Margaret S.

Chisolm, the article reviews the case studies of persons suffering psychiatric

symptoms from mefloquine use, namely “depersonalization/derealization

disorder” (DDD). According to the authors, DDD “attacks the core of one’s

core sense of self.” ROA.18-30694.527. This study supports the conclusions

of Dr. Nevin and Dr. Stanulis that Cuff suffered brain damage from the use of

mefloquine that could have contributed to his sexual disinhibition and

criminal conduct.

      5. New evidence of debilitating effect of behavioral disorders
      connected to the use of mefloquine.

      Cuff presented an article published 2015, Behavioral effects of

Mefloquine in tail suspension and light/dark tests (Exhibit 3 to Rule 59

motion). ROA.18-30694.519-525. Authored by John Michael Holden,

Richard Slivicki, Rachel Dahl, Xia Dong, Matt Dwyer, Weston Holley, and

Crissa Knott, the article noted that “[i]n the past 10-15 years concerns about

mefloquine’s neuropsychiatric side effects have grown.” This significant


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new evidence was not seen before by the district court. The evidence also

confirmed the conclusions of Dr. Nevin and Dr. Stanulis that Cuff may well

have suffered brain damage from the use of mefloquine.

        6. New evidence of findings about Mefloquine Intoxication Syndrome.

        Cuff presented an article published 2015 by Dr. Remington Nevin and

Dr. Elspeth Ritchie, The Mefloquine Intoxication Syndrome: A Significant

Potential Confounder in the Diagnosis and Management of PTSD and Other

Chronic Deployment-Related Neuropsychiatric Disorders (Exhibit 10 to Rule

59 motion). ROA.18-30694.662-683. The authors observe that acute

mefloquine intoxication “may produce vivid, hyper-realistic nightmares that

may precede a manic, paranoid, dissociative or confuse psychosis, often

marred by horrific auditory and visual hallucinations.” ROA.18-30694.662.

They also observe that commonly reported symptoms of acute mefloquine

intoxication include “anxiety, paranoia, and persecutory mania, panic attacks,

emotional liability and aggression.” ROA.18-30694.666. The symptoms also

include “psychosis, magical thinking, grandiose thoughts . . . and delusions.”

Id.

        This significant new evidence was not seen before by the district court.

The evidence confirms the conclusion of Dr. Nevin and Dr Stanulis that that




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Cuff may well have suffered brain damage related to the effects of

mefloquine.

      7. New evidence of debilitating effect of behavioral disorders
      connected to the use of mefloquine and resulting rare use of the drug
      by U.S. military.

      Cuff presented an article published October, 2016 in the Federal

Practitioner, authored by Dr. Nevin and Dr. Ritchie, FDA Black Box, VA Red

ink? (Exhibit 9 to Rule 59 motion) ROA.18-30694.657-661. The authors

observe that in July 2013, the Food and Drug Administration “included a

black box warning describing [neuropsychiatric reactions which] potentially

could persist long after the drug has been discontinued . . . . Consequently,

more than a quarter century after its introduction, mefloquine now is only

rarely prescribed to members of the U.S. military.” ROA.18-30694.657.

      This significant new evidence was not seen before by the district court.

The evidence also confirmed the conclusions of Dr. Nevin and Dr Stanulis

that that Cuff may well have suffered from brain damage from his use of

mefloquine.

              8. New evidence of a petition for guardianship filed by Cuff’s
              wife and sister alleging Cuff was incompetent to handle his own
              affairs.

              As Exhibit 13 to the Rule 59 motion, Cuff presented a petition

for Guardianship that had been filed by his sister and his wife in the Circuit


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Court of Harrison, Mississippi on November 17, 2017. ROA.18-30694.733-

738. In the petition, both Cuff’s mother and sister agree that Cuff was

incompetent to handle his own affairs and was in need of a guardian. Id. This

significant new evidence was not seen before by the district court. The

evidence also confirmed the diagnosis of Dr. Nevin and Dr. Stanulis that Cuff

may well have suffered from brain damage from his use of mefloquine. As

of this date the petition has not yet been acted upon.

     9. New evidence that Dr. Nevin’s conclusions are now part of Cuff’s
Navy medical records.

      As Exhibit 4 to the Rule 59 motion, Cuff presented Cuff’s Navy

medical records to the district court which contain Dr. Nevin’s reports and

diagnoses respecting Cuff’s neurological damage stemming from his use of

mefloquine. See District Court Docket 763-4, pages 31-38. (For reasons

unknown, undersigned counsel has been unable to determine the electronic

record number on appeal assigned to these records). Evidence that Cuff’s

Navy medical records now contain the diagnosis of Dr. Nevin should have

persuaded the district court to reconsider its skepticism of the conclusions of

Dr. Nevin and Dr. Stanulis.

      In sum, in his Rule 59 motion, Cuff adduced nine new exhibits

presenting evidence that was discovered after the date of the filing of the

2255 motion. Taken separately and together, the new evidence strongly

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supported the conclusions of Drs. Nevin and Stanulis that Cuff suffered from

brain damage from the use of mefloquine that may well have contributed to

his criminal conduct. This new evidence should have substantially

undermined the district court’s skepticism about the conclusions of Dr. Nevin

and Dr. Stanulis. The district judge’s finding that nothing presented in the

Rule 59 motion persuaded him to change his mind about the merits of the

2255 motion demonstrates the court’s failure to adequately consider and

weight relevant new evidence. In short, the district court’s denial of the Rule

59 motion demonstrates a clear abuse of discretion.

      It may be that this Court will ultimately deny the appeal on the merits

of this issue. However, because reasonable jurists could differ on whether

the district court abused its discretion in denying the Rule 59 motion, this

Court should grant a COA on this issue.

                               CONCLUSION

      The issue presently before this Court is not whether Cuff will

ultimately prevail on the merits of any of his claims. That remains to be

seen. But he certainly meets the test established by the Supreme Court in

Miller-El v. Cockrell, 537 U.S. 322, 326 (2003) for the issuance of a COA:

       Consistent with our prior precedent and the text of the habeas
       corpus statute, we reiterate that a prisoner seeking a COA need
       only demonstrate “a substantial showing of the denial of a
       constitutional right.” 28 U.S.C. § 2253(c) (2). A petitioner

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       satisfies this standard by demonstrating that jurists of reason
       could disagree with the district court's resolution of his
       constitutional claims or that jurists could conclude the issues
       presented are adequate to deserve encouragement to proceed
       further. Slack, supra, at 484, 120 S.Ct. 1595. Applying these
       principles to petitioner's application, we conclude a COA
       should have issued.

      As in Miller-El, the Court should issue a COA here with respect to

each of the claims set forth above.

                                              Respectfully Submitted:

                                              /s/Michael R. Levine
                                              Michael R. Levine




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                       APPENDIX




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                     CERTIFICATE OF COMPLIANCE



I certify that the accompanying brief is in “14” type and contains 12,532

words excluding the Table Contents and Table of the Authorities.



/s/ Michael R. Levine




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                        CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that I caused to be served the

above Brief in Support of Motion for a Certificate of Appealability by ECF in

the Western District of Louisiana. All parties are signed on to this service.

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                IN THE UNITED STATES COURT OF APPEALS

                            FOR THE FIFTH CIRCUIT

UNITED STATES OF AMERICA,
                                                C.A. No. 18-30694
             Plaintiff-Appellee,
      vs.                                       D.C. No. 5:11-CR-00062-21
                                                (W.D. Louisiana, Judge Hicks)

ROBERT CUFF

             Defendant-Appellant.



 UNOPPOSED MOTION TO PERMIT FILING OF AMENDED BRIEF IN
  SUPPORT OF MOTION FOR CERTIFICATE OF APPEALABILITY

      Attorney Michael R. Levine, who represents the appellant Robert Cuff,

moves the Court for permission to file an amended brief in support of the motion

for a Certificate of Appealability (COA) within 7 days of the filing of this motion.

This motion is not opposed by the government and is based on the records of the

case and the following statements:




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1.    On December 1, 2011, in the Western District of Louisiana, Robert Cuff

pleaded guilty to the crime of engaging in a child exploitation enterprise in violation

of 18 U.S.C. § 2252A (g). On July 13, 2012, after a hearing, the district court

(Judge Maurice Hicks) denied Cuff’s motion to withdraw his plea and sentenced

him to a term of life imprisonment, which he is currently serving. This Court

affirmed his conviction on direct appeal. His petition for certiorari to the Supreme

Court was denied.

2.    On December 6, 2014, Cuff filed a motion under 28 U.S.C. § 2255 to vacate

his conviction. On March 12, 2018, the district court denied the motion. The court

also denied a COA. The court also denied a subsequent motion under F.R.Civ. Pr.

59 (e) to reconsider the judgment.

3.    On June 1, 2018, Cuff filed a timely notice of appeal from the district court’s

denial of his 2255 motion and from the denial of his Rule 59(e) motion. Docket

Nos. 757, 767.

4.    On September 30, 2018, Cuff filed a motion with this Court for a COA. He

also filed a brief in support of the motion.

5.    Since the filing of the brief, counsel has learned of various factual and

substantive errors in the brief. In addition he has discovered some syntactical, and

spelling errors.




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6.     Cuff has been sentenced to life in prison. Practically speaking, the motion

for a COA may be his last chance to obtain at least the hope of some relief.

Therefore, counsel seeks to insure that the brief is as accurate and persuasive as

possible; for that reason, he requests the opportunity to amend the brief and correct

the errors.

7.     Undersigned counsel has communicated with Assistant United States

Mignonne Griffing who states that the government has no objection to this motion.

       Therefore, in the interest of justice, the Court should grant the motion.


Dated: November 5, 2018.

                                        Respectfully Submitted:

                                        /s/ Michael R. Levine
                                            Michael R. Levine




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                   CERTIFICATE OF COMPLIANCE


I certify that the attached motion complies with the type setting and page limitation
of the rules. The pleading is in “14” type and contains 523 words.

/s/ Michael R. Levine
Michael R. Levine




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                        CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that on November 5, 2018, I caused to be

served the Motion for Permission to File Amended Brief by ECF on Assistant

United States Attorney Mignonne Griffing.

                                      /s/ Michael R. Levine
                                      Michael R. Levine




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               IN THE UNITED STATES COURT OF APPEALS

                             FOR THE FIFTH CIRCUIT

UNITED STATES OF AMERICA,
                                               C.A. No. 18-30694
             Plaintiff-Appellee,
      vs.                                      D.C. No. 5:11-CR-00062-21
                                               (W.D. Louisiana, Judge Hicks)

ROBERT CUFF

             Defendant-Appellant.



   UNOPPOSED MOTION TO PERMIT FILING OF SUPPLEMENTAL
      BRIEF IN SUPPORT OF MOTION FOR CERTIFICATE OF
                      APPEALABILITY

      Attorney Michael R. Levine, who represents the appellant Robert Cuff,

moves the Court for permission to file a Supplemental Brief in support of the

motion for a Certificate of Appealability (COA), which motion was forwarded to

the Court on January 10, 2019. This motion is based on the records of the case and

the following statements:


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1.    On December 1, 2011, in the Western District of Louisiana, Robert Cuff

pleaded guilty to the crime of engaging in a child exploitation enterprise in violation

of 18 U.S.C. § 2252A (g). On July 13, 2012, after a hearing, the district court

(Judge Maurice Hicks) denied Cuff’s motion to withdraw his plea and sentenced

him to a term of life imprisonment, which he is currently serving. This Court

affirmed his conviction on direct appeal. His petition for certiorari to the Supreme

Court was denied.

2.    On December 6, 2014, Cuff filed a motion under 28 U.S.C. § 2255 to vacate

his conviction. On March 12, 2018, the district court denied the motion. The court

also denied a COA. The court also denied a subsequent motion under F.R.Civ. Pr.

59 (e) to reconsider the judgment.

3.    On June 1, 2018, Cuff filed a timely notice of appeal from the district court’s

denial of his 2255 motion and from the denial of his Rule 59(e) motion. District

Court Docket Nos. 757, 767.

4.   On September 30, 2018, Cuff filed a motion with this Court for a COA. He

also filed a brief in support of the motion. He seeks a COA on the following

issues:

      A. Whether the government breached the plea agreement;




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      B. Whether trial counsel was ineffective in not adequately investigating

Cuff’s mental condition and viable defenses before advising him to plead guilty;

      C. Whether trial counsel was ineffective in not moving for a competency

hearing at least before sentencing; and

      D. Whether the trial court abused its discretion in denying the rule 59 motion

to reconsider its opinion denying the 2255 motion.

4.    After the brief in support of the motion for a COA was filed, counsel learned

of various factual and substantive errors in the brief. In addition, he discovered

some syntactical, and spelling errors. As a result, on November 5, 2018, he filed an

unopposed motion for permission to file an amended and corrected brief. That

motion is still pending.

5.    Sometime thereafter, counsel learned of yet additional significant facts that

he had neglected to argue in the MCOA, which provide strong support for the

arguments in the motion for a COA, particular with respect to the issue of whether

the government breached the plea agreement. He also learned of an additional

court order by the State of Mississippi establishing a guardianship for Cuff because

of his incompetence that provides strong support for arguments in the motion for a

COA. This court order is not part of the record below, but in the supplemental

brief, Cuff asks the Court to take judicial notice of it.




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6.    Because undersigned counsel thought the additional facts and evidence were

critical to the Court’s resolution of the motion for a COA, on January 10, 2019,

counsel forwarded to the Court the 16 page supplemental brief that is now before

the Court. In counsel’s efforts to place this evidence and argument before the

Court, he neglected to first seek permission of the Court to file the supplemental

brief, for which omission he now apologizes.

7.    I have communicated with Assistant United States Attorney Mignonne

Griffing, and she states the government has no objection to this motion.

      In sum, Cuff has been sentenced to life in prison. Practically speaking, the

motion for a COA may be his last chance to obtain at least the hope of some relief.

Counsel seeks to insure that in resolving the question of whether a COA should

issue, the Court has before it all the relevant documents and facts. In the interests

of justice, Mr. Cuff requests the Court to accept for filing the supplemental brief

that was forwarded to the Court on January 10, 2019. In addition, he request the

Court to grant the motion that was filed on November 5, 2018, and allow Mr. Cuff

to file an amended and corrected brief in support of motion for a COA.

Dated: January 11, 2019.

                                        Respectfully Submitted:

                                        /s/ Michael R. Levine
                                            Michael R. Levine



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                   CERTIFICATE OF COMPLIANCE


I certify that the attached motion complies with the type setting and page limitation
of the rules. The pleading is in “14” type and contains 846 words.

/s/ Michael R. Levine
Michael R. Levine




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                          CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that all parties are served by this filing

because all are listed in ECF.

                                        /s/ Michael R. Levine
                                        Michael R. Levine




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